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                              Appeal No. 2022-134




                              __________________
                                 SONOS, INC.,
                                             Plaintiff-Petitioner-Cross-Respondent,
                                        v.
                                GOOGLE LLC,
                                        Defendant-Respondent-Cross-Petitioner.
                              __________________
On Petition and Cross-Petition for Permission to Appeal an Order from the United
 States District Court for the Northern District of California in Case No. 3:21-cv-
                        07559-WHA, Judge William Alsup


  GOOGLE LLC’S CROSS-PETITION FOR PERMISSION TO APPEAL
               PURSUANT TO 28 U.S.C. § 1292(b)

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FORM 9. Certificate of Interest                                                     Form 9 (p. 1)
                                                                                       July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2022-134
   Short Case Caption Sonos, Inc. v. Google LLC
   Filing Party/Entity Google LLC



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
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 Cir. R. 47.4(b).


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        04/07/2022
  Date: _________________                   Signature:      /s/ Charles Verhoeven

                                            Name:           Charles Verhoeven
                Case: 22-134      Document: 8     Page: 3        Filed: 04/07/2022



FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented         all real parties in interest     all parent corporations
 by undersigned counsel in        for the entities. Do not         for the entities and all
 this case.                       list the real parties if         publicly held companies
                                  they are the same as the         that own 10% or more
                                  entities.                        stock in the entities.

                                  ‫܆‬
                                  ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable

          Google LLC                                                  XXVI Holdings Inc.

                                                                         Alphabet Inc.




                                     Additional pages attached
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FORM 9. Certificate of Interest                                                             Form 9 (p. 3)
                                                                                               July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
           None/Not Applicable                                 Additional pages attached

             Nima Hefazi




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
           None/Not Applicable                                 Additional pages attached
 Google LLC v. Sonos, Inc., 3:20-cv-06754-WHA
                  (N.D. Cal)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔        None/Not Applicable                                 Additional pages attached
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                                INTRODUCTION
      Google submits this cross-petition for interlocutory review because this

Court’s guidance is needed to clarify the pleading standard for willful and indirect

infringement, and such clarity can be provided only if this Court grants this cross-

petition along with Sonos’s petition. The District Court held that Sonos could amend

its complaint to show willfulness and the knowledge element of indirect

infringement simply by alleging that Google had filed a declaratory judgment

complaint alleging non-infringement of the patents at issue. Because this theory is

legally baseless and raises troubling practical consequences, this Court should grant

review and order dismissal with prejudice.

      As an initial matter, Google does not oppose Sonos’s petition. Sonos fails to

confront the weight of precedent rejecting its arguments and many courts’

explanations for why a patentee cannot bootstrap its own allegations of infringement

as the basis to show that the infringement was willful and knowing for purposes of

indirect infringement. Nonetheless, because there is some confusion among district

courts on the questions presented in the petition, this Court’s review would provide

helpful guidance.

      However, review would be meaningful in the instant case—and thus satisfy

the Section 1292(b) requirements of a controlling question of law that will advance

the outcome of the litigation—only if this Court also grants Google’s cross-petition.



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Absent this cross-petition, Sonos’s petition is largely meaningless because Sonos

already has moved to amend to satisfy the District Court’s proposed pleading

standard for willfulness and the knowledge element of indirect infringement. The

question of consequence here is whether all of Sonos’s allegations—including that

Google filed a declaratory judgment complaint—suffice to meet the pleading

standard.   If not, then Sonos’s second amended complaint should have been

dismissed with prejudice, and courts consistently hold that this change (from

dismissal without prejudice to with prejudice) is a proper basis for cross-appeal.

      Moreover, there is an important, unsettled issue of law regarding whether the

filing of a declaratory judgment complaint provides a sufficient basis for a patentee

to allege willful infringement and the knowledge element of indirect infringement.

The District Court disregarded the point that willfulness and knowledge require not

only knowledge of the patent, but knowledge that the party was infringing that

patent. A party’s choice to file a declaratory judgment complaint—and thereby

provide a good-faith basis to show non-infringement—does not plausibly support

the inference that the party actually knows it is infringing, i.e., the exact opposite of

what it is claiming. The District Court’s contrary conclusion would mark a drastic

change in the law, whereby parties would be punished for filing declaratory

judgment complaints and be strongly disincentivized from doing so. Such a change




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warrants this Court’s review, and accordingly, this Court should grant this cross-

petition along with Sonos’s petition.

               QUESTION PRESENTED ON CROSS-PETITION
      Can a patentee remedy a failure to plead willful infringement and the

knowledge element of indirect infringement merely by alleging that the alleged

infringer filed a complaint requesting a declaratory judgment of non-infringement

of the patents at issue?

                           STATEMENT OF FACTS

      A.     Google’s Collaboration With Sonos
      Founded in 1998, Google has a mission to organize the world’s information

and make it universally accessible and useful. Google LLC v. Sonos, Inc., No. 3:20-

cv-06754-WHA (“Declaratory Judgment Action”), Dkt. 125 ¶ 14. Over the past two

decades, Google has become one of the world’s most innovative technology

companies in service of that mission. Id.

      In 2013, Google and Sonos began collaborating on the integration of Google

Play Music with Sonos devices. Id. ¶ 18. Google and Sonos executed several

agreements in connection with their collaboration, including a November 2013

Content Integration Agreement. Id. ¶ 21. Pursuant to the parties’ agreements,

Google and Sonos collaborated closely on cloud queue technology for Google Play

Music between 2013 and 2015. Id. ¶ 24. By December 2013, Google told Sonos

that it was considering “a more cloud queue centric model” for certain aspects of

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development related to the collaboration. Id. ¶ 25. Google went on to develop its

technology, and Sonos learned the details of Google’s development in connection

with the parties’ collaboration. Dkt. 32 at 24.1 Sonos also understood—and

acknowledged at the time—that Google would be using its technology not just in

connection with Sonos devices but also in connection with other devices. Id.

      B.     The Parties’ Discussions Regarding Patents Not At Issue Here
      Between 2016 and 2019, Google and Sonos engaged in cross-licensing

discussions. Dkt. 138 at 9. In connection with the parties’ years-long negotiation of

a potential cross-license, Sonos sent Google various materials identifying Sonos

patents and accusing Google products of infringement. Id. While those materials

purportedly identified U.S. Patent Nos. 9,967,615 (“’615 patent”) and 9,344,206

(“’206 patent”), as well as patents sharing a common specification with U.S. Patent

Nos. 10,469,966 (“’966 patent”), 10,779,033 (“’033 patent”), and 10,848,885 (“’885

patent”), Sonos admits that “this correspondence did not specifically identify the

’033, ’966, and ’885 Patents.” Dkt. 144 at 7.

      C.     Sonos’s Complaint For Infringement And Google’s Complaint For
             Declaratory Judgment Of Non-Infringement
      On September 28, 2020, Sonos sent Google a draft complaint alleging

infringement of the ’615, ’033, ’966, and ’206 patents as well as U.S. Patent No.


1
   Unless otherwise noted, docket numbers refer to the docket in the proceeding
below, No. 3:21-cv-07559-WHA (N.D. Cal.).

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9,219,460 (“’460 patent”), which it planned to file in the Western District of Texas

the next day. Dkts. 1 ¶¶ 83, 95, 107, 120, 133. That night, Google filed a declaratory

judgment complaint in the Northern District of California seeking a declaratory

judgment of non-infringement of the same patents. Declaratory Judgment Action,

Dkt. 1. The next morning, Sonos filed the instant action in the Western District of

Texas. Dkt. 1. The Northern District of California later stayed the declaratory

judgment action to allow the Western District of Texas to rule on Google’s motion

to transfer this case to California. Declaratory Judgment Action, Dkt. 36. This Court

granted Google’s petition for mandamus and ordered transfer to the Northern

District of California. See In re Google LLC, No. 2021-170, 2021 WL 4427899

(Fed. Cir. Sept. 27, 2021).

      On February 23, 2021, Sonos filed the operative second amended complaint,

alleging infringement of the ’615, ’033, ’966, ’885, and ’206 patents.2 Dkt. 51.

Sonos’s second amended complaint asserts willful and indirect infringement claims

for the ’033, ’966, and ’885 patents. Id. Sonos contends that Google had knowledge

of the ’033 and ’966 patents when Sonos sent Google a draft of its original complaint

on September 28, 2020, and of the ’885 patent when Sonos provided Google with a

draft of its first amended complaint on January 8, 2021. Id. ¶¶ 92-95, 117-20, 130-



2
    On February 4, 2022, the parties stipulated to dismissal of claims and
counterclaims regarding the ’206 patent. Dkt. 151.

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33. It also claims that Google had notice of the ’033, ’996, and ’885 patents as a

result of the parties’ licensing discussions regarding other non-asserted patents in

Sonos’s patent portfolio. See, e.g., id. ¶¶ 20, 22.

      D.     The District Court’s Dismissal Without Prejudice Of Sonos’s
             Willful And Indirect Infringement Claims
      On March 9, 2021, Google moved to dismiss Sonos’s claims for willful and

indirect infringement of the ’033, ’966, and ’885 patents. Dkt. 55. Since the motion

was still pending when this case was transferred from the Western District of Texas

to the Northern District of California, Google re-filed it in the Northern District of

California on January 10, 2022. Dkt. 138 at 8.

      On March 16, 2022, the court granted Google’s motion to dismiss without

prejudice.    ADD1-13.      Recognizing that the standard for pleading willful

infringement “is a recurring issue in patent litigation,” the court attempted to set

forth the “proper pleading standard.” ADD2-3. Although “[n]o post-Halo appellate

authority addresses any pleading requirements for enhanced damages, or for that

matter, willful infringement,” the court held that “knowledge of the patent and

knowledge of infringement must be pled with plausibility.”            ADD4.     It then

emphasized that “[m]ere knowledge of a ‘patent family’ or the plaintiff’s ‘patent

portfolio’ is not enough” to establish a specific intent to infringe. Id. The court also

“join[ed] those district courts that do not generally allow the complaint to serve as

notice.” ADD8. However, the court noted that a “different calculus” applies “when


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the controversy is initiated by the accused infringer by way of a declaratory relief

action” and held that “the patent owner, by way of a counterclaim, should be allowed

to plead the infringer’s conceded knowledge of the patents and that the infringer has

had sufficient time to analyze the accused product vis-à-vis those patents.” Id.

      Applying this standard, the court found that “Sonos has not plausibly alleged

Google had the requisite knowledge” to support its willful infringement claims for

the ’033, ’966, and ’885 patents. ADD9. First, the court rejected Sonos’s claim that

the courtesy copies of the original complaint and first amended complaint

established Google’s knowledge of the ’033, ’966, and ’885 patents. Id. Second, it

found Sonos’s allegations of the parties’ previous licensing discussions and patent

disputes insufficient to establish knowledge of the patents at issue. ADD9-10. But

the court permitted Sonos to amend its complaint to plead willful infringement based

on Google’s declaratory judgment complaint. ADD10.

      The court also dismissed without prejudice the claim for indirect infringement

on the same ground. ADD10-12. The court noted that “[l]ike willful infringement,

both forms of indirect infringement—induced and contributory infringement—

require knowledge of the patent and knowledge of infringement.”              ADD10.

Accordingly, the court concluded that “[e]verything discussed above for willfulness

applies here.” ADD11. In addition, for contributory infringement, the court held




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that Sonos did not adequately plead the requisite lack of substantial noninfringing

uses. ADD11-12.

      Recognizing that “reasonable minds may differ” on the pleading standard for

“pleading willfulness and indirect infringement (on the knowledge point, not on the

issue of substantial noninfringing uses), and recognizing the vast amount of

resources being consumed in the district courts over such pleading issues,” the court

certified the issue for interlocutory appeal under 28 U.S.C. § 1292(b). ADD13. On

March 28, 2022, Sonos petitioned this Court for permission to appeal.3

      E.     Sonos’s Proposed Third Amended Complaint
      On March 30, 2022, Sonos moved for leave to file a third amended complaint.

Dkt. 159. In an effort to cure the deficiency of its willful and indirect infringement

claims for the ’033, ’966, and ’885 patents, Sonos added the following allegations:

(1) Google’s declaratory judgment complaint supposedly demonstrates that Google

knew of the ’966, ’033, and ’885 patents prior to Sonos bringing each respective

claim of infringement,4 and (2) Google supposedly “should have known about the


3
   On March 30, this Court ordered that a response to the petition was due on April
6. Because Google did not file a response, but rather files only this cross-petition, it
is due today, April 7, under Rule 5(b)(2) of the Federal Rules of Appellate Procedure.
However, in an abundance of caution, Google notes that if this Court disagrees,
Google respectfully requests the Court nonetheless accept this filing, and Google
would submit a motion requesting this relief should the Court deem it necessary.
4
    Although Google’s original declaratory judgment complaint did not seek a
declaratory judgment of non-infringement of the ’885 patent, Sonos appears to
contend that the original declaratory judgment complaint nevertheless establishes

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’966, ’033, and ’885 Patents and Google’s infringement thereof based on the parties’

multi-jurisdictional patent dispute as well as a five-year history where Sonos had

repeatedly informed Google of the breadth and depth of Sonos’s patent portfolio and

its applicability to the accused Google products, including for patents in the same

family as the asserted patents.” Id. at 12-13.5

                                    ARGUMENT
      The Court should grant review to address the District Court’s holding that a

patentee can plausibly allege willful infringement and the knowledge element of

indirect infringement by asserting that the alleged infringer filed a complaint

requesting a declaratory judgment of non-infringement of the patents at issue.

Review under 28 U.S.C. § 1292(b) is warranted because this is (1) an important and

controlling issue of law; (2) as to which there are substantial grounds for a difference

of opinion; (3) the resolution of which would substantially narrow this case. See,

e.g., Ritz Camera & Image, LLC v. SanDisk Corp., 463 F. App’x 921, 922 (Fed. Cir.

2012).

      Google cross-petitions, rather than simply raising this issue as an additional

basis for affirmance, because Google’s arguments would warrant a change in the



that Google knew of the patent before Sonos filed its claim for infringement of the
’885 patent. See Dkt. 159 at 12-13; Declaratory Judgment Action, Dkt. 1.
5
      Sonos also provided additional allegations on the issue of substantial
noninfringing uses. See Dkt. 159-9 ¶¶ 143-47, 179-82, 212-15. Neither Sonos nor
Google petitions this Court for review of this issue.

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District Court’s order from a dismissal without prejudice to a dismissal with

prejudice. Courts consistently recognize that a defendant may seek such relief

through a cross-appeal. See, e.g., Firefighters’ Ret. Sys. v. Grant Thornton, L.L.P.,

894 F.3d 665, 672 (5th Cir. 2018) (“The district court dismissed Plaintiffs’ claims

without prejudice, but a dismissal without prejudice may be converted into a

dismissal with prejudice when a defendant files a cross-appeal, as [the defendant]

has done here.”); Am. Bottom Conservancy v. U.S. Army Corps of Eng’rs, 650 F.3d

652, 660 (7th Cir. 2011) (“An appellee who wants, not that the judgment of the

district court be affirmed on an alternative ground, but that the judgment be changed,

in this case from a dismissal without to a dismissal with prejudice, must file a cross-

appeal.”); Dodd v. Hood River Cnty., 59 F.3d 852, 864 (9th Cir. 1995) (“The District

Court’s dismissal was grounded on its own lack of jurisdiction and was without

prejudice. The [defendants], having not filed a cross-appeal, may urge any ground

that would result in an affirmance of the judgment below in their favor, but may not

obtain from us relief more extensive than [they] received from the district court.”).

In any event, “the appellate court may address any issue fairly included within the

certified order . . . .” Yamaha Motor Corp., USA v. Calhoun, 516 U.S. 199, 205

(1996). Here, as discussed below, this Court can and should address the issues raised

in both Sonos’s petition and this cross-petition.




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I.    GOOGLE DOES NOT OPPOSE SONOS’S PETITION IF GOOGLE’S
      CROSS-PETITION IS ALSO GRANTED
      Google does not oppose Sonos’s petition because the pleading standard for

willful and indirect infringement would benefit from this Court’s review.

Nonetheless, it would be imprudent to grant Sonos’s petition without also granting

this cross-petition because Sonos’s petition by itself would have little, if any, effect

on the outcome of this case. The District Court indicated that Sonos could survive

a motion to dismiss on willfulness and the knowledge element of indirect

infringement simply by adding an allegation that Google had filed a declaratory

judgment complaint. See ADD8-11. Sonos’s proposed third amended complaint

does just that.   Thus, regardless of whether Sonos’s allegations in its second

amended complaint would suffice, it appears that Sonos’s claims may now survive

a motion to dismiss as to willful infringement and the knowledge element of indirect

infringement.     In contrast, Google’s cross-petition is dispositive because (if

accepted) it would leave Sonos without any basis to plead willful or indirect

infringement, and thus require dismissal of those counts with prejudice. In short, it

does not make sense for this Court to decide whether some, but not all, of the

allegations at issue here suffice to plead willful and indirect infringement. But

because the pleading standard is a subject of significant confusion and disagreement

among district courts, this Court should grant both the petition and cross-petition to

provide needed clarity on the questions presented.


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      Furthermore, while Google will address in further detail the merits of the

issues presented in Sonos’s petition if this Court grants the petition, it suffices here

to note that Sonos mischaracterizes the weight of authority and disregards the

arguments that refute its position. Contrary to Sonos’s suggestion (Pet. 19-21),

many district courts have rejected the idea that the patentee’s complaint of

infringement itself suffices to plead willful infringement and the knowledge element

of indirect infringement. Those courts explain that Sonos’s approach impermissibly

would allow a complaint to create a cause of action. See ZapFraud, Inc. v.

Barracuda Networks, Inc., 528 F. Supp. 3d 247, 251 (D. Del. 2021) (“The limited

authority vested in our courts by the Constitution and the limited resources made

available to our courts by Congress counsel against encouraging plaintiffs to create

claims by filing claims.”); VLSI Tech. LLC v. Intel Corp., No. 18-966-CFC, 2019

WL 1349468, at *2 (D. Del. Mar. 26, 2019) (“the complaint itself cannot serve as

the basis for a defendant’s actionable knowledge” because the “purpose of a

complaint is not to create a claim but rather to obtain relief for an existing claim”).

      It also would render the willfulness and knowledge elements essentially

“meaningless,” as alleged infringers always have knowledge of the patents-in-suit

after receiving the complaint. Bonutti Skeletal Innovations LLC v. Arthrex, Inc., No.

612CV1380ORL22TBS, 2013 WL 12149301, at *3 (M.D. Fla. Mar. 29, 2013). As

one district court correctly explained: “[I]t should not be the case that every patent


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infringement lawsuit is automatically a willful infringement case. But if all that is

required is the filing of a complaint and a plausible allegation of infringement, then

every case would be a willful infringement case.” Wrinkl, Inc. v. Facebook, Inc.,

No. 20-CV-1345-RGA, 2021 WL 4477022, at *8 (D. Del. Sept. 30, 2021); see also

Proxyconn Inc. v. Microsoft Corp., No. SACV 11-1681 DOC ANX, 2012 WL

1835680, at *7 (C.D. Cal. May 16, 2012) (“Imagine that a plaintiff files a claim for

indirect infringement alleging that the complaint establishes the defendant’s

knowledge. The same day, the defendant ceases all activity. Yet, under Plaintiff’s

rule, the defendant could not succeed on a motion to dismiss because, even though

the defendant only learned of the patent the day of the complaint, defendant’s

knowledge is bootstrapped onto its conduct prior to the complaint’s filing.”).

      This Court’s precedents likewise suggest that the knowledge that matters is

pre-suit knowledge, not knowledge gained in the suit itself. See, e.g., Nalco Co. v.

Chem-Mod, LLC, 883 F.3d 1337, 1357 (Fed. Cir. 2018) (finding that the knowledge

element of contributory infringement was satisfied where plaintiff had “pled facts to

show Defendants’ knowledge, prior to filing of the suit, of the [asserted] patent”);

SynQor, Inc. v. Artesyn Techs., Inc., 709 F.3d 1365, 1380 (Fed. Cir. 2013)

(concluding that the “jury’s finding of liability for contributory infringement

demonstrate[d] the jury found each Defendant had actual knowledge of the

[asserted] Patent prior to suit”). Indeed, as the District Court recognized, requiring


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pre-suit knowledge preserves judicial and party resources by encouraging patent

owners to put infringers on notice before resorting to litigation. ADD8 (“allowing

the complaint to serve as notice would circumvent the worthwhile practice to send a

cease-and-desist letter before suit”); see also Proxyconn, 2012 WL 1835680, at *5

(“requiring a Plaintiff to plead knowledge based on facts other than the filing of the

present lawsuit furthers judicial economy and preserves parties’ resources by

encouraging resolution prior to filing a lawsuit”).

      Despite the District Court’s correct analysis of this issue, there are (as Sonos

notes) some district courts that have held the contrary, and for that reason, Google

does not oppose this Court granting Sonos’s petition along with Google’s cross-

petition.

II.   THERE IS A CONTROLLING QUESTION OF LAW WHETHER A
      DECLARATORY JUDGMENT COMPLAINT SUFFICES TO PLEAD
      WILLFUL INFRINGEMENT AND THE KNOWLEDGE ELEMENT
      OF INDIRECT INFRINGEMENT
      The District Court’s order presents a controlling question of law because its

interpretation of the pleading standard for willful and indirect infringement presents

a purely legal question, its reversal would require dismissal with prejudice of

Sonos’s willful and indirect infringement claims for the ’033, ’966, and ’885 patents,

and a clarifying decision from this Court will have critical precedential value.




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      A.     The Interpretation Of The Pleading Standard For Willful And
             Indirect Infringement Presents A Pure Question Of Law
      To qualify as a question of law for purposes of § 1292(b), “an issue must be

an abstract legal issue that the court of appeals can decide quickly and cleanly.”

Mamani v. Berzain, 825 F.3d 1304, 1312 (11th Cir. 2016) (quotation marks omitted);

see also Ahrenholz v. Bd. of Trustees of Univ. of Illinois, 219 F.3d 674, 677 (7th Cir.

2000) (“‘question of law’ means an abstract legal issue”). Here, the proper pleading

standard is a pure question of law reviewed de novo. In particular, whether a

patentee can plead willful infringement and the knowledge element of indirect

infringement merely by asserting that the alleged infringer filed a complaint

requesting a declaratory judgment of non-infringement of the patent at issue is

clearly a question of law. This Court can resolve the issue “without having to delve

beyond the surface of the record in order to determine the facts” because it turns on

interpretation of the Patent Act, 35 U.S.C. §§ 271, 284, and its jurisprudence.

Mamani, 825 F.3d at 1312 (quotation marks omitted).

      B.     The Question Is Controlling Because Reversal Would Require
             Dismissal With Prejudice
      “A question of law may be deemed ‘controlling’ if its resolution is quite likely

to affect the further course of the litigation, even if not certain to do so.” Sokaogon

Gaming Enter. Corp. v. Tushie-Montgomery Assocs., Inc., 86 F.3d 656, 659 (7th Cir.

1996). Here, the question of law is “controlling” because reversal of the District



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Court’s decision on the issue would require dismissal with prejudice. The District

Court ordered dismissal without prejudice only because it held that an allegation

regarding Google’s declaratory judgment complaint would suffice for willfulness

and the knowledge element of indirect infringement. ADD10 (“The special twist in

this controversy, however, is that Google commenced its own declaratory relief

claim first. Applying our ground rules set forth above, Sonos should be allowed to

counterclaim along the lines set forth above.”); see also ADD11 (adopting the same

reasoning for the indirect infringement claim).

      Indeed, Sonos’s proposed third amended complaint confirms that, unless the

declaratory judgment complaint suffices, the proper course is dismissal with

prejudice because amendment would be futile. The third amended complaint adds

the allegation regarding Google’s declaratory judgment complaint. Dkt. 159-9

¶¶ 55-65, 161, 194, 226. The only other relevant addition is further detail about the

parties’ previous patent disputes and licensing discussions regarding patents other

than the patents at issue, id. ¶¶ 20-30, which the District Court correctly held do not

suffice, ADD4, 9-10—a point Sonos does not dispute in its petition. Thus, the

controlling question in this litigation is whether Google’s declaratory judgment

complaint suffices for Sonos to meet its pleading standard.

      C.     Clarity On This Issue Would Have Significant Precedential Value
      Review should also be granted because the question presented has important



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precedential value. See Klinghoffer v. S.N.C. Achille Lauro Ed Altri-Gestione

Motonave Achille Lauro in Amministrazione Straordinaria, 921 F.2d 21, 24 (2d Cir.

1990) (“[T]he impact that an appeal will have on other cases is a factor” in

determining whether a question is controlling). It is very common for a party to file

a declaratory judgment complaint shortly before a patentee files its own complaint

accusing the party of infringement. If the existence of the declaratory judgment

complaint itself permits the patentee to meet the pleading standard for willful and

indirect infringement, then that would be a very significant and (as discussed infra

Part III) troubling development in the law that warrants this Court’s consideration.

III.   SUBSTANTIAL GROUNDS FOR DIFFERENCE OF OPINION EXIST
       AS TO WHETHER A DECLARATORY JUDGMENT COMPLAINT
       SUFFICES  TO   ALLEGE    WILLFUL   AND    INDIRECT
       INFRINGEMENT
       “A substantial ground for difference of opinion exists where reasonable jurists

might disagree on an issue’s resolution, not merely where they have already

disagreed.” Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011).

“Stated another way, when novel legal issues are presented, on which fair-minded

jurists might reach contradictory conclusions, a novel issue may be certified for

interlocutory appeal without first awaiting development of contradictory precedent.”

Id.

       Here, there are very substantial grounds to disagree with the District Court’s

opinion that a patentee can plead willful infringement and the knowledge element of


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indirect infringement merely based on the alleged infringer’s filing of a declaratory

judgment complaint. In support of this holding, the District Court cited only

Mitutoyo Corp. v. Cent. Purchasing, LLC, 499 F.3d 1284, 1290 (Fed. Cir. 2007).

ADD8. But Mitutoyo does not support the District Court’s conclusion, as it held

allegations of a declaratory judgment for invalidity filed eight years before the patent

owner’s infringement action combined with a settlement agreement between the

parties resolving a dispute about the same patent nine years before the patent

owner’s infringement action plausibly established a claim for willful infringement.

And at least one district court has dismissed an indirect infringement claim for failure

to show intent to infringe, despite a declaratory judgment complaint, because that

complaint suggests a “reasonable, good-faith belief in noninfringement” that “can

negate the specific intent required for induced infringement.” Apple Inc. v. Princeps

Interface Techs. LLC, No. 19-CV-06352-EMC, 2020 WL 1478350, at *4 (N.D. Cal.

Mar. 26, 2020).

      The District Court’s holding not only lacks precedential support, but it also

conflicts with the straight-forward meaning of willful and knowing infringement.

This Court has held: “To establish willfulness, the patentee must show the accused

infringer had a specific intent to infringe at the time of the challenged conduct.”

Bayer Healthcare LLC v. Baxalta Inc., 989 F.3d 964, 987-88 (Fed. Cir. 2021); see

also ADD10 (“Like willful infringement, both forms of indirect infringement—


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induced and contributory infringement—require knowledge of the patent and

knowledge of infringement.”). Thus, at the pleading stage, the patentee must allege

facts showing both knowledge of the patent and facts supporting a plausible,

reasonable inference that the alleged infringer knew it was infringing that patent.

      The existence of a declaratory judgment counterclaim does nothing to

plausibly allege that the alleged infringer knew it was infringing. The District

Court’s theory appears to be that a declaratory judgment counterclaim shows that

the alleged infringer knew about and considered the relevant patent. ADD8 (“A

different calculus . . . applies when the controversy is initiated by the accused

infringer by way of a declaratory relief action. In that circumstance, before suit, the

accused infringer has presumably already studied the patents versus the accused

products and, indeed, has sufficiently studied them to assert under Rule 11 that the

accused product does not infringe the specified patents . . . .”). However, regardless

of whether the party knew about the patent, that does not provide support for the

idea that it also knew it was infringing the patent.

      To the contrary, the declaratory judgment complaint means that the party

believes it is not infringing and has a good-faith basis for that belief. There is no

logical basis to presume that an accused infringer’s allegation of non-infringement

is factual support for the exact opposite proposition. Indeed, the purpose of a willful

infringement claim is to show supposedly “egregious” conduct that might warrant


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enhanced damages, see, e.g., Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 106

(2016), and it is hardly egregious for a party to file a declaratory judgment complaint

to claim it is not infringing a patent and to challenge the validity of that patent. Yet

under the District Court’s ruling, the only supposedly egregious conduct required at

the pleading stage is the declaratory judgment complaint. See ADD6 (noting that

“once willfulness is adequately pled, the complaint need not go further and specify

the further aggravating circumstances warranting enhanced damages”).

      Moreover, the District Court’s approach improperly would punish parties for

bringing declaratory judgment complaints to seek a determination of their rights.

Such a result is contrary to the purpose of the Declaratory Judgment Act and patent

policy.6 In particular, it would substantially chill parties from filing declaratory

judgment claims for fear of providing the necessary predicate for the patentee to

claim willful infringement. The District Court’s only response is: “Infringers should


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   See, e.g., Micron Tech., Inc. v. Mosaid Techs., Inc., 518 F.3d 897, 902 (Fed. Cir.
2008) (“The purpose of the Declaratory Judgment Act . . . in patent cases is to
provide the allegedly infringing party relief from uncertainty and delay regarding its
legal rights.”) (citation omitted); Teva Pharms. USA, Inc. v. Novartis Pharms. Corp.,
482 F.3d 1330, 1336 n.2 (Fed. Cir. 2007) (the Declaratory Judgment Act serves “the
policies underlying the patent laws by enabling a test of the validity and infringement
of patents that are . . . being used only as . . . ‘scarecrows.’ Before the declaratory
judgment provisions, competitors were ‘victimized’ by patent owners who engaged
in ‘extrajudicial patent enforcement with scare-the-customer-and-run tactics that
infect[ed] the competitive environment of the business community with uncertainty
and insecurity’ and that rendered competitors ‘helpless and immobile so long as the
patent owner refused to . . . sue.”) (quoting Arrowhead Indus. Water, Inc. v.
Ecolochem, 846 F.2d 731, 735 (1988)).

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not be allowed to immunize themselves from ongoing willfulness by forcing patent

owners into litigation. If this holding discourages declaratory relief actions, it will

do so no more than deserved.” ADD9. However, the question is not whether a

declaratory judgment complaint can be used as a shield to immunize a party from a

claim of willful infringement; if there are plausible allegations to support willfulness

or knowledge, a patentee can raise them regardless of the declaratory judgment

counterclaim. The question is whether the patentee can use a declaratory judgment

counterclaim as a sword, whereby a party’s denial of infringement becomes factual

support for its knowledge of infringement. In short, there is no legal basis for the

District Court’s suggestion that “discourag[ing] declaratory relief actions” is

“deserve[d],” and, at a minimum, this Court should address such a novel and

substantial change in the law.

IV.   RESOLUTION OF THIS ISSUE WOULD MATERIALLY ADVANCE
      THE OUTCOME OF THE LITIGATION
      Finally, reversal of the District Court’s decision on the impact of a declaratory

judgment action would materially advance the litigation because, as discussed

above, it would require dismissal with prejudice. Whether review will materially

advance the termination of the litigation is closely related to the question of whether

an issue of law is “controlling,” such that the Court should consider the effect of a

reversal on the management of the case. E.g. Lakeland Vill. Homeowners Ass’n v.

Great Am. Ins. Grp., 727 F. Supp. 2d 887, 896 (E.D. Cal. 2010). “[T]he ‘materially


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advance’ prong is satisfied when the resolution of the question ‘may appreciably

shorten the time, effort, or expense of conducting’ the district court proceedings.”

ICTSI Oregon, Inc. v. Int’l Longshore & Warehouse Union, 22 F.4th 1125, 1131

(9th Cir. 2022) (quotation marks omitted). Sonos’s petition, considered on its own,

is largely pointless given the proposed amendments to Sonos’s complaint. However,

if Google’s cross-petition is also granted, then resolution of the issues presented by

both parties can materially advance the resolution of the proceedings by determining

whether amendment of Sonos’s willful and indirect infringement claims would be

futile.

                       RELIEF SOUGHT AND CONCLUSION
          Google respectfully requests that, under 28 U.S.C. § 1292(b), this Court grant

the cross-petition for review of the District Court’s order.




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                                        Respectfully Submitted,

Dated: April 7, 2022                   By: Charles Verhoeven
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                         CERTIFICATE OF COMPLIANCE

      Counsel for Defendant-Petitioner hereby certifies that:

      1. The cross-petition complies with the type-volume limitation of Federal

Rule of Appellate Procedure 32(a)(7)(B)(i) because exclusive of the exempted

portions it contains 5,196 words as counted by the word processing program used to

prepare the brief; and

      2. The cross-petition complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared using Microsoft Office

Word 2013 in a proportionately spaced typeface: Times New Roman, font size 14.



Dated: April 7, 2022                             /s/ Charles Verhoeven
                                                 Charles Verhoeven




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                         CERTIFICATE OF SERVICE
     The undersigned hereby certifies that on April 7, 2022, I caused a true and

correct copy of the foregoing CROSS-PETITION FOR PERMISSION TO APPEAL

PURSUANT TO 28 U.S.C. § 1292(b) to be served by ECF.

                                               /s/ Charles Verhoeven
                                               Charles Verhoeven




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                    ADDENDUM
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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   SONOS, INC.,
                                  11                  Plaintiff,                            No. C 21-07559 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   GOOGLE LLC,                                          ORDER RE MOTION TO DISMISS
                                                                                            AND CERTIFICATION UNDER 28
                                  14                  Defendant.                            U.S.C. § 1292(b)
                                  15

                                  16

                                  17                                         INTRODUCTION

                                  18        In this patent infringement action, alleged infringer moves to dismiss patent owner’s

                                  19   enhanced damages and indirect infringement claims. To the following extent, the motion is

                                  20   GRANTED.

                                  21                                           STATEMENT

                                  22        This action is yet another pitched battle in the world-wide war between alleged infringer

                                  23   Google LLC and patent owner Sonos, Inc. regarding speaker technology. With our parties

                                  24   already embroiled in litigation in this district, the ITC, Canada, France, Germany, and Holland,

                                  25   Sonos’s counsel sent Google an email alerting that Sonos would be filing an eighty-seven-page

                                  26   patent infringement complaint the next day against the search giant, this time in the District

                                  27   Court for the Western District of Texas, Waco Division. Within twelve hours, Google filed its

                                  28   own thirteen-page complaint for declaratory relief in our district. Early the next day, Sonos
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                                   1   filed its Texas action as promised. Sonos, Inc. v. Google LLC, No. C 20-00881 ADA (W.D.

                                   2   Tex. filed Sept. 29, 2020) (Judge Alan D. Albright).

                                   3        An order stayed Google’s declaratory judgment action to allow Judge Albright to rule on

                                   4   Google’s motion to transfer the action in Texas to our district (No. C 20-06754 WHA, “DJ

                                   5   Dkt.” No. 36). He denied it. The Court of Appeals for the Federal Circuit, however, directed

                                   6   that the case come here. Both cases are now before me. This motion arises in Sonos’s action,

                                   7   the one formerly in Texas.

                                   8        Sonos’s second amended complaint alleges that Google infringes five of its patents, U.S.

                                   9   Patent Nos. 9,344,206; 9,967,615; 10,469,966; 10,779,033; and 10,848,885. The parties

                                  10   recently stipulated to dismissal of the ’206 patent from our action (Dkt. No. 151; DJ Dkt. No.

                                  11   132). As part of its patent infringement claims, Sonos alleges direct and indirect infringement

                                  12   and seeks enhanced damages for alleged willful infringement.
Northern District of California
 United States District Court




                                  13        Google now moves to dismiss Sonos’s second amended complaint for failing to

                                  14   adequately plead willful infringement and indirect infringement as to the ’966, ’033, and ’885

                                  15   patents. It does not contest the adequacy of the allegations regarding the ’615 patent. This

                                  16   order follows full briefing and oral argument.

                                  17                                              ANALYSIS

                                  18        To survive a motion to dismiss, a complaint must plead “enough facts to state a claim to

                                  19   relief that is plausible on its face,” where facial plausibility turns on providing enough “factual

                                  20   content that allows the court to draw the reasonable inference that the defendant is liable for

                                  21   the misconduct alleged.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v.

                                  22   Iqbal, 556 U.S. 662, 678 (2009). Courts accept well-pled factual allegations in the complaint

                                  23   as true and “construe the pleadings in the light most favorable to the nonmoving party.”

                                  24   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).

                                  25        1.      ENHANCED DAMAGES.
                                  26        The parties disagree over the proper pleading standard for enhanced damages based on

                                  27   willful infringement. Google asserts a patent owner must allege knowledge of the specific

                                  28   patent, knowledge of infringement, and egregious behavior. Sonos asserts allegations of
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                                   1   egregiousness are not required. This is a recurring issue in patent litigation, so this order will

                                   2   set forth a comprehensive treatment of the problem and then turn to its application in the

                                   3   instant case.

                                   4         Section 284 of the Patent Act states that, in cases of infringement, “the court may

                                   5   increase the damages up to three times the amount found or assessed.” In its most recent

                                   6   decision on Section 284, the Supreme Court held that while “there is no precise rule or

                                   7   formula” for meting out enhanced damages, it is “generally reserved for egregious cases of

                                   8   culpable behavior” that has “been variously described in our cases as willful, wanton,

                                   9   malicious, bad-faith, deliberate, consciously wrongful, flagrant, or — indeed — characteristic

                                  10   of a pirate.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 103–04 (2016) (cleaned up).

                                  11   In other words, enhanced damages constitute a “punishment [that] should generally be reserved

                                  12   for egregious cases typified by willful misconduct.” Id. at 106.
Northern District of California
 United States District Court




                                  13         The Supreme Court thus recognized the close interrelation between enhanced damages

                                  14   and willfulness. Indeed, patent plaintiffs will usually couch their requests for enhanced

                                  15   damages as claims for willful infringement, and defendants will then often seek to dismiss

                                  16   those claims at the outset. Some district courts in response have treated willful infringement as

                                  17   a distinct claim that can be subject to a motion to dismiss. See Boston Sci. Corp. v. Nevro

                                  18   Corp., 415 F. Supp. 3d 482, 493 (D. Del. 2019) (Judge Colm F. Connolly); Novitaz, Inc. v.

                                  19   inMarket Media, LLC, 2017 WL 2311407, at *5 (N.D. Cal. May 26, 2017) (Judge Edward J.

                                  20   Davila).

                                  21         Since Halo, the Court of Appeals for the Federal Circuit has explained that egregiousness

                                  22   is for the district judge to decide after the verdict:

                                  23                   As the plain language of 35 U.S.C. § 284 makes clear, the issue of
                                                       punishment by enhancement is for the court and not the jury.
                                  24                   Under Halo, the concept of “willfulness” requires a jury to find no
                                                       more than deliberate or intentional infringement. The question of
                                  25                   enhanced damages is addressed by the court once an affirmative
                                                       finding of willfulness has been made. It is at this second stage at
                                  26                   which the considerations of egregious behavior and punishment are
                                                       relevant. Questions of whether an accused patent infringer’s
                                  27                   conduct was “egregious behavior” or “worthy of punishment” are
                                                       therefore not appropriate for jury consideration.
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                                   1   Eko Brands, LLC v. Adrian Rivera Maynez Enters., Inc., 946 F.3d 1367, 1378 (Fed. Cir. 2020)

                                   2   (citations and parentheticals omitted). So, the jury decides whether infringement was willful,

                                   3   and, if it was, then the district judge determines whether it was egregious enough to warrant

                                   4   enhanced damages, and, if so, how much (up to three times the actuals). Willfulness is thus a

                                   5   necessary but not necessarily sufficient predicate, for a finding of egregious misconduct and

                                   6   enhanced damages. See also SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1310 (Fed. Cir.

                                   7   2019).

                                   8         To establish willful patent infringement, the patent owner must prove knowledge of the

                                   9   patent and knowledge of infringement. First, “[k]nowledge of the patent alleged to be

                                  10   willfully infringed continues to be a prerequisite to enhanced damages.” WBIP, LLC v. Kohler

                                  11   Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016). Mere knowledge of a “patent family” or the

                                  12   plaintiff’s “patent portfolio” is not enough. Second, the Court of Appeals for the Federal
Northern District of California
 United States District Court




                                  13   Circuit has stated: “To establish willfulness, the patentee must show the accused infringer had

                                  14   a specific intent to infringe at the time of the challenged conduct.” Bayer Healthcare LLC v.

                                  15   Baxalta Inc., 989 F.3d 964, 987–88 (Fed. Cir. 2021); see also Eko Brands, 946 F.3d at 1378

                                  16   (“deliberate or intentional infringement”).

                                  17         But what must be pled at the outset? No post-Halo appellate authority addresses any

                                  18   pleading requirements for enhanced damages, or for that matter, willful infringement. With

                                  19   respect to willfulness, this order agrees that specific intent to infringe be pled with plausibility.

                                  20   This means that knowledge of the patent and knowledge of infringement must be pled with

                                  21   plausibility.

                                  22         An important practical aspect of our patent system is encouraging the practice of pre-suit

                                  23   notice through a cease-and-desist letter that calls out the patent claims, the accused product,

                                  24   and the way it infringes the claims. This practice is encouraged in order to give the alleged

                                  25   infringer a meaningful opportunity to cease infringement or to get a license, all before any

                                  26   lawsuit commences.

                                  27         Eko Brands reiterated that the jury must decide the question of willfulness. In general,

                                  28   issues go to the jury only if properly framed by the pleadings. “[T]he factual allegations that
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                                   1   are taken as true must plausibly suggest an entitlement to relief, such that it is not unfair to

                                   2   require the opposing party to be subjected to the expense of discovery and continued

                                   3   litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). This means that willfulness

                                   4   should be plausibly pled in the complaint. See Revolution Eyewear, Inc. v. Aspex Eyewear,

                                   5   Inc., 563 F.3d 1358, 1372–74 (Fed. Cir. 2009); see also MasterObjects, Inc. v. Amazon.com,

                                   6   Inc., 2021 WL 4685306, at *2 (N.D. Cal. Oct. 7, 2021); BillJCo, LLC v. Apple Inc., 2022 WL

                                   7   299733, at *2 (W.D. Tex. Feb. 1, 2022) (Judge Alan D. Albright); Välinge Innovation AB v.

                                   8   Halstead New England Corp., 2018 WL 2411218, at *3–9 (May 29, 2018) (Judge Christopher

                                   9   J. Burke), recommendation and report adopted by 2018 WL 11013901 (D. Del. Nov. 6, 2018)

                                  10   (Judge Leonard P. Stark). In other words, allegations of an infringer’s knowledge of the patent

                                  11   and of infringement must raise a plausible inference that the defendant had the specific intent

                                  12   to infringe. Allegations of mere direct infringement are insufficient.
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                                  13         Cease-and-desist letters can efficiently lead to a resolution and save vast resources. Of

                                  14   course, reasonable time must be allowed for the alleged infringer to evaluate the letter and to

                                  15   react. The shorter the timespan allowed before suit, the less it can be said the patent owner had

                                  16   a “good faith basis for alleging willful infringement.” In re Seagate Tech., LLC, 497 F.3d

                                  17   1360, 1374 (Fed. Cir. 2007), abrogated on other grounds by Halo, 579 U.S. 93; cf. Gustafson,

                                  18   Inc. v. Intersystems Indus. Prods., Inc., 897 F.2d 508, 511 (Fed. Cir. 1990).

                                  19         It is true that Rule 9(b) states that knowledge may be alleged generally and without the

                                  20   specificity required for fraud. But it still must be alleged with plausibility. Given the vast

                                  21   number of issued patents, it is not plausible that every manufacturer, in the absence of a notice

                                  22   letter, would be aware of each and every patent that might claim some feature of its products.

                                  23   Willful infringement is the exception, not the rule. Said another way, knowledge of the patent

                                  24   and knowledge of infringement are necessary, but not sufficient, for a jury to find willfulness.

                                  25   Bayer, 989 F.3d at 987–88. So a mere allegation of “knowledge” remains conclusory and

                                  26   insufficient.

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                                   1            Yes, sending such a cease-and-desist letter will possibly invite a declaratory relief suit

                                   2       and possibly spoil the patent owner’s choice of venue. Venue tactics, however, should not

                                   3       stand in the way of the right pleading standard.

                                   4            This order recognizes there can be circumstances where willful infringement is properly

                                   5       alleged despite the absence of a notice letter. For example, the alleged infringer may have

                                   6       learned of the patent in a previous lawsuit. Or, the alleged infringer may have had a prior

                                   7       license, but the license ran out. See Arctic Cat Inc. v. Bombardier Recreational Prods., Inc.,

                                   8       876 F.3d 1350, 1371 (Fed. Cir. 2017). But such circumstances showing knowledge should be

                                   9       alleged.

                                  10            Must the further circumstances beyond willfulness that might warrant enhanced damages

                                  11       also be pled? District courts have split on whether a patent owner must adequately plead

                                  12       egregiousness as part of its willful infringement “claim” since it serves a proxy of sorts for
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                                  13       enhanced damages.1

                                  14            This order holds that, once willfulness is adequately pled, the complaint need not go

                                  15       further and specify the further aggravating circumstances warranting enhanced damages. Eko

                                  16       Brands emphasized that the issue of whether to award enhanced damages arises after

                                  17       infringement is proven. With the benefit of a full record the district judge is then able to

                                  18       determine the extent to which the infringement was egregious. It would be a rare case where

                                  19       the infringer disclosed the full extent of its egregious behavior in advance of litigation, such

                                  20       that the conduct could be fully described in the complaint. In fact, in the run of cases, the most

                                  21       damning information will lurk only in the files of the accused infringer and will only be

                                  22       discovered after litigation is underway. The full extent of egregious behavior is therefore

                                  23

                                  24   1
                                         Compare Fortinet, Inc. v. Forescout Techs., Inc., 543 F. Supp. 3d 814, 840 (N.D. Cal. 2021)
                                  25   (Judge Edward M. Chen) (must allege egregious behavior); Finjan, Inc. v. Cisco Sys. Inc., 2017
                                       WL 2462423, at *5 (N.D. Cal. 2017) (Judge Beth Labson Freeman) (same), with Core Optical
                                  26   Techs., LLC v. Juniper Networks Inc., ––– F. Supp. 3d –––, 2021 WL 4618011, at *3 (N.D. Cal.
                                       Oct. 7, 2021) (Judge Vince Chhabria) (egregiousness not required); Longhorn Vaccines &
                                  27   Diagnostics, LLC v. Spectrum Sols. LLC, ––– F. Supp. 3d –––, 2021 WL 4324508, at *13–14 (D.
                                       Utah Sept. 23, 2021) (Judge David B. Barlow) (same); Välinge, 2018 WL 2411218, at *3–9
                                  28   (same).

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                                   1       unknown at the pleading stage. It would be unreasonable to expect patent plaintiffs to be in a

                                   2       position to plead the full extent of egregious misconduct, especially since willfulness alone will

                                   3       not necessarily be enough. “[T]here are certain types of cases that will be almost impossible to

                                   4       bring, as all of the information necessary to state a plausible claim is owned or known by the

                                   5       defendants and not accessible to the plaintiffs until the discovery phase.” 5 Charles A. Wright

                                   6       & Arthur R. Miller, Fed. Prac. & Proc. § 1216 (4th ed. 2021). A patent plaintiff can, however,

                                   7       plead the material elements of willful infringement, simply by sending a cease-and-desist letter

                                   8       that explains why the accused product infringes and giving the infringer a fair chance to cease

                                   9       or to obtain a license. 2

                                  10             Under what circumstances can the complaint itself serve as notice of infringement?

                                  11       Since Halo’s abrogation of Seagate, patentees have had more flexibility in asserting willful

                                  12       infringement claims for post-complaint conduct. See Mentor Graphics Corp. v. EVE-USA,
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                                  13       Inc., 851 F.3d 1275, 1295–96 (Fed. Cir. 2017); WCM Indus., Inc. v. IPS Corp., 721 Fed. App’x

                                  14       959, 970 (Fed. Cir. 2018). Google asserts that a patent infringement complaint can never

                                  15       supply the knowledge required for willfulness, contending further that pleadings may assert

                                  16       rights but cannot create rights (Reply Br. 5–6, citing ZapFraud, Inc. v. Barracuda Networks,

                                  17       Inc., 528 F. Supp. 3d 247 (D. Del. 2021) (Judge Colm F. Connolly)). Put differently, if there

                                  18       was no viable willfulness claim prior to suit then, Google asserts, the service of a patent

                                  19       infringement complaint cannot bootstrap its way to willfulness.

                                  20             The argument the other way is that a well-pled, detailed complaint laying out a clear case

                                  21       of infringement could supply the knowledge (post-complaint) required for willfulness once a

                                  22       defendant has had a reasonable period of time to evaluate the complaint’s contentions. The

                                  23       traditional rule has been that damages run up to the commencement of the action unless a

                                  24

                                  25   2
                                         See Evolved Wireless, LLC v. Samsung Elecs. Co., Ltd., 2016 WL 1019667, at *4 (Mar. 15,
                                  26   2016) (Judge Sherry R. Fallon), report and recommendation adopted 2016 WL 1381765 (D. Del.
                                       Apr. 6, 2016) (Judge Sue L. Robinson); Monolithic Pwr. Sys., Inc. v. Silergy Corp., 127 F. Supp.
                                  27   3d 1071, 1074 n.1 (N.D. Cal. 2015) (Judge Vince Chhabria); Orlando Comms. LLC v. LG Elecs.,
                                       Inc., 2015 WL 1246500, at *11–12 (M.D. Fla. Mar. 16, 2015) (Judge Anne C. Conway) (indirect
                                  28   infringement); Intellectual Ventures I LLC v. Toshiba Corp., 66 F. Supp. 3d 495, 500 (D. Del.
                                       2014) (Judge Sue. L. Robinson).
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                                   1       supplemental complaint for additional damages is allowed. The more modern practice, in view

                                   2       of the delay in getting cases to trial, has been to allow parties to update their damages studies

                                   3       to a date closer to trial. One might further argue that a well-pled, detailed original complaint

                                   4       laying out a clear case of infringement from the outset could support a willfulness verdict with

                                   5       regard to a time period reasonably after commencement of the action and before trial. Cf.

                                   6       WCM, 721 Fed. App’x at 970. Some judges agree or substantially agree; others substantially

                                   7       disagree.3

                                   8             The main argument the other way is that allowing the complaint to serve as notice would

                                   9       circumvent the worthwhile practice to send a cease-and-desist letter before suit. Recognizing

                                  10       the efficacy of cease-and-desist letters, this order joins those district courts that do not

                                  11       generally allow the complaint to serve as notice.

                                  12             A different calculus, however, applies when the controversy is initiated by the accused
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                                  13       infringer by way of a declaratory relief action. In that circumstance, before suit, the accused

                                  14       infringer has presumably already studied the patents versus the accused products and, indeed,

                                  15       has sufficiently studied them to assert under Rule 11 that the accused product does not infringe

                                  16       the specified patents — regardless of whether a cease-and-desist letter or other notice has been

                                  17       sent. See Mitutoyo Corp. v. Central Purchasing, LLC, 499 F.3d 1284, 1290–91 (Fed. Cir.

                                  18       2007). What is more, any declaratory relief complaint must, as a way to demonstrate the need

                                  19       for the requested relief, acknowledge the ongoing sale of the accused product. In such a

                                  20       circumstance, the patent owner, by way of a counterclaim, should be allowed to plead the

                                  21       infringer’s conceded knowledge of the patents and that the infringer has had sufficient time to

                                  22       analyze the accused product vis-à-vis those patents (along with other specifics needed to show

                                  23       willfulness). In addition, in light of the continuing need for declaratory relief, the counterclaim

                                  24       should be allowed to allege that the infringement is ongoing, i.e., post-counterclaim

                                  25
                                       3
                                  26     Compare IOENGINE, LLC v. PayPal Hldgs., Inc., 2019 WL 330515, at *7–8 (D. Del. Jan. 25,
                                       2019) (Judge William C. Bryson); Apple Inc. v. Samsung Elecs. Co., Ltd., 258 F. Supp. 3d 1013,
                                  27   1025–27 (N.D. Cal. 2017) (Judge Lucy H. Koh); with Wrinkl, Inc. v. Facebook, Inc., 2021 WL
                                       4477022, at *7 (D. Del. Sept. 30, 2021) (Judge Richard G. Andrews); ZapFraud, 528 F. Supp. 3d
                                  28   at 251–52; CAP Co., Ltd. v. McAfee, Inc., 2015 WL 3945875, at *3 (N.D. Cal. June 26, 2015)
                                       (Judge James Donato).
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                                   1   willfulness. Infringers should not be allowed to immunize themselves from ongoing

                                   2   willfulness by forcing patent owners into litigation. If this holding discourages declaratory

                                   3   relief actions, it will do so no more than deserved.

                                   4        I will now apply these ground rules to the instant case, again reminding the reader that

                                   5   this arises in Sonos’s action, the one that came from Texas. The specifics of the instant

                                   6   pleading, say:

                                   7                Sonos provided a pre-filing copy of both the original complaint
                                                    and this Amended Complaint to Google, thereby providing clear
                                   8                pre-suit notice of infringement of the patents-in-suit. Google,
                                                    however, has never given any indication that it is willing to stop
                                   9                infringing, and did not do so in response to receiving a draft of
                                                    either the original complaint or this Amended Complaint
                                  10

                                  11   (Sec. Amd. Compl. ¶ 35). It is well known in this case that Sonos gave notice of infringement

                                  12   less than twenty-four hours before commencing this action in Texas. That was not enough
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                                  13   time to provide an alleged infringer a meaningful opportunity to cease infringing or negotiate a

                                  14   license. It was not even enough time for counsel for the accused infringer to parse through the

                                  15   complaint (here a massive, eight-seven-page pleading concerning multiple patents). Sonos has

                                  16   the burden to plausibly plead adequate notice was given to assess the allegations of

                                  17   infringement in the complaint. Consequently, Sonos has not plausibly alleged Google had the

                                  18   requisite knowledge.

                                  19        The operative complaint references various correspondence Sonos sent to Google in

                                  20   October 2016, February 2019, and January 2020 regarding Sonos’s patents (Sec. Amd. Compl.

                                  21   ¶¶ 20, 22, 26). But for all of that documentation, Sonos acknowledges “this correspondence

                                  22   did not specifically identify the ’033, ’966, and ’855 Patents” (Opp. 2). Nor has Sonos

                                  23   adequately alleged that, due to its correspondence and their current multi-jurisdictional patent

                                  24   dispute, Google should have known about the pertinent patents and of infringement. Sonos’s

                                  25   allegations on that issue are merely rote recitations of the claim: “Google’s infringement of the

                                  26   ’033 Patent is also willful because Google (a) had actual knowledge of the ’033 Patent and

                                  27   Sonos’s infringement contentions no later than September 28, 2020 (see ¶¶ 19-29 above), (b)

                                  28   engaged in the aforementioned activity despite an objectively high likelihood that Google’s
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                                   1   actions constituted infringement of the ’033 Patent, and (c) this objectively-defined risk was

                                   2   either known or so obvious that it should have been known to Google.” (Sec. Amd. Compl. ¶

                                   3   95). The allegations for the other patents mirror this allegation. All are insufficient.

                                   4         The special twist in this controversy, however, is that Google commenced its own

                                   5   declaratory relief claim first. Applying our ground rules set forth above, Sonos should be

                                   6   allowed to counterclaim along the lines set forth above. That is, Sonos should be allowed to

                                   7   plead the infringer’s knowledge of the patents and that the infringer has had sufficient time to

                                   8   analyze the accused product vis-à-vis those patents (along with other specifics needed to show

                                   9   willfulness). Accordingly, Sonos will be allowed to make the willfulness allegations either by

                                  10   way of a counterclaim in the declaratory relief action or by way of amendment in the Texas

                                  11   action now that it has come to this district.

                                  12         This order makes clear, however, that even under the strictest of pleading standards, and
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                                  13   even if all its willfulness claims were struck, Sonos would be entitled to pursue in discovery

                                  14   issues concerning Google’s pre-suit knowledge of the specific patents-in-suit and of

                                  15   infringement. In the event that evidence in discovery showed that Google had been aware

                                  16   (prior to suit) of the specific patents and of their infringement, Sonos would then be allowed to

                                  17   move for leave to amend to reassert its willful infringement allegations. This supplemental

                                  18   observation seems necessary because this entire motion was evidently made to set up the

                                  19   argument that discovery into willfulness would be off limits.

                                  20         In short, although not required to plead egregiousness, Sonos has failed to adequately

                                  21   allege willful infringement, the predicate for enhanced damages. It will be allowed to amend

                                  22   to try again.

                                  23         2.        INDIRECT INFRINGEMENT.
                                  24         The foregoing ground rules concerning the adequate pleading of willful infringement and

                                  25   enhanced damages apply with parallel force to the parallel issues for indirect infringement.

                                  26         Like willful infringement, both forms of indirect infringement — induced and

                                  27   contributory infringement — require knowledge of the patent and knowledge of infringement.

                                  28   In addition, to state a claim for induced infringement under Section 271(b) of the Patent Act,
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                                   1   the patent owner must also sufficiently allege the accused infringer’s specific intent to

                                   2   encourage another’s infringement of the patent. For contributory infringement under Section

                                   3   271(c), the patentee must further adequately allege that the accused product is not a staple

                                   4   article or commodity of commerce suitable for a substantial noninfringing use. See Bio-Rad

                                   5   Labs., Inc. v. ITC, 998 F.3d 1320, 1335 (Fed. Cir. 2021).

                                   6         The district court split on whether a pleading can serve as the basis for knowledge of a

                                   7   patent as well as infringement extends to indirect infringement as well. On the one hand,

                                   8   district courts have held: “A complaint is a perfectly adequate notice to defendants for indirect

                                   9   infringement claims for post-filing conduct.” CAP, 2015 WL 3945875, at *5. Other district

                                  10   courts have reasoned: “The purpose of a complaint is to obtain relief from an existing claim

                                  11   and not to create a claim.” ZapFraud, 528 F. Supp. 3d at 251–52. Falling in between, some

                                  12   district court judges that have not permitted knowledge arising from a pleading to suffice for a
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                                  13   willful infringement claim have gone the other way for indirect infringement: “[I]f the plaintiff

                                  14   were not permitted to amend a complaint [to allege knowledge since the filing of the original

                                  15   complaint], it would be the equivalent of saying that the plaintiff’s failure to give notice of the

                                  16   patents outside of litigation operated as a bar to bringing a suit for indirect infringement.”

                                  17   Wrinkl, 2021 WL 4477022, at *7.

                                  18        Everything discussed above for willfulness applies here. This means that without a

                                  19   notice letter or circumstances like the examples described previously, the complaint will

                                  20   generally not be adequate to serve as notice for either willful or indirect infringement.

                                  21        Turning to the operative pleading here, Sonos proceeds on the theory that provision of a

                                  22   massive, pre-filing copy of the complaint one day prior to filing it in Texas was adequate to

                                  23   provide knowledge. Sonos has failed to sufficiently allege knowledge of the patent and

                                  24   knowledge of infringement.

                                  25        Additionally, for contributory infringement, Google asserts that Sonos does not

                                  26   adequately plead the requisite lack of substantial noninfringing uses. “For purposes of

                                  27   contributory infringement, the inquiry [on substantial noninfringing use] focuses on whether

                                  28   the accused products can be used for purposes other than infringement.” In re Bill of Lading
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                                   1   Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1338 (Fed. Cir. 2012) (emphasis

                                   2   in original). Sonos’s allegations of substantial noninfringing uses assert:

                                   3                For instance, at a minimum, Google offers for sale, sells, and/or
                                                    imports the YouTube Music, Google Play Music, and YouTube
                                   4                apps for installation on devices (e.g., smartphones, tablets, and
                                                    computers) that meet one or more claims of the ’033 Patent. . . .
                                   5                Further, Google especially made and/or adapted these apps for
                                                    installation and use on devices that meet the one or more claims of
                                   6                the ‘033 Patent, and these apps are not a staple article of commerce
                                                    suitable for substantial noninfringing use
                                   7

                                   8   (Sec. Amd. Compl. ¶ 94). The allegations for the other two patents are similar (id. ¶¶ 119,

                                   9   132). Sonos’s allegations that the accused products (e.g., the YouTube app) cannot be used for

                                  10   purposes other than infringement is conclusory. There are no factual underpinnings of Sonos’s

                                  11   allegations on this point. The operative pleading, in fact, describes Google as adding

                                  12   infringing “features” to its products like the YouTube app (id. ¶ 16).
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                                  13        Google cannot escape liability merely be embedding Sonos’s patents into a larger app

                                  14   with some additional, separable features. See Ricoh Co., Ltd. v. Quanta Computer Inc., 550

                                  15   F.3d 1325, 1337 (Fed. Cir. 2008). To that end, when determining whether there are substantial

                                  16   noninfringing uses, the district court must consider “whether the infringing component is

                                  17   ‘separate and distinct’ from other functions of the composite product.” Koninklijke Philips

                                  18   N.V. v. Zoll Med. Corp., 656 Fed. App’x 504, 524 (Fed. Cir. 2016) (citing Fujitsu Ltd. v.

                                  19   Netgear Inc., 620 F.3d 1321, 1330 (Fed. Cir. 2010)) (internal quotation marks omitted). The

                                  20   Court of Appeals for the Federal Circuit has “been fairly liberal” on this point. Ibid.

                                  21        Sonos’s problem is that its allegations speak to the apps generally, and not any specific

                                  22   component part. Sonos cites Firstface Co., Ltd. v. Apple, Inc., 2019 WL 1102374, at *1–2

                                  23   (N.D. Cal. Mar. 8, 2019) (Judge James Donato). Firstface is instructive. There, the patent

                                  24   owner alleged that the home button and fingerprint features on iPhones and iPads were not

                                  25   staple articles of commerce suitable for substantial noninfringing uses. Unlike here, the patent

                                  26   owner in FirstFace focused on the component features. It did not assert that the iPhone itself

                                  27   or the iOS operating system itself had no substantial noninfringing uses. Without more, Sonos

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                                   1   has failed to properly allege there are no substantial noninfringing uses for the accused

                                   2   products. Its contributory infringement claim consequently fails.

                                   3                                            CONCLUSION

                                   4         Google’s motion is GRANTED as to Sonos’s willful infringement and indirect

                                   5   infringement claims, which are DISMISSED WITHOUT PREJUDICE.

                                   6         Sonos may move for leave to amend its complaint. Any such motion must include as an

                                   7   exhibit a redlined version of the proposed amendment that clearly identifies all changes from

                                   8   the amended complaint. This order highlighted certain deficiencies in the amended complaint,

                                   9   but it will not necessarily be enough to add sentences parroting each missing item identified

                                  10   herein. If Sonos moves for leave to file another amended complaint, it should be sure to plead

                                  11   its best case and take into account all criticisms made by Google, including those not reached

                                  12   by this order.
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                                  13                          CERTIFICATION UNDER 28 U.S.C. § 1292(b)

                                  14         Recognizing that reasonable minds may differ as to the ground rules set forth above for

                                  15   pleading willfulness and indirect infringement (on the knowledge point, not on the issue of

                                  16   substantial noninfringing uses), and recognizing the vast amount of resources being consumed

                                  17   in the district courts over such pleading issues, this order now certifies those issues for

                                  18   interlocutory appeal under 28 U.S.C. § 1292(b). This order finds that these are controlling

                                  19   questions of law as to which there is substantial ground for difference of opinion and that their

                                  20   resolution by the court of appeals will materially advance the litigation.

                                  21        IT IS SO ORDERED.

                                  22

                                  23   Dated: March 16, 2022.

                                  24

                                  25
                                                                                                WILLIAM ALSUP
                                  26                                                            UNITED STATES DISTRICT JUDGE
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                                                                                  ADRMOP,RELATE
                                  U.S. District Court
                     California Northern District (San Francisco)
                  CIVIL DOCKET FOR CASE #: 3:21−cv−07559−WHA

Sonos, Inc. v. Google LLC                                   Date Filed: 09/28/2021
Assigned to: Judge William Alsup                            Jury Demand: Both
Relate Case Case: 3:20−cv−06754−WHA                         Nature of Suit: 830 Patent
Case in other court: Texas Western, 6:20−cv−00881           Jurisdiction: Federal Question
Cause: 35:271 Patent Infringement
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Case: 22-134   Document: 8   Page: 49    Filed: 04/07/2022

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            Case: 22-134   Document: 8     Page: 50     Filed: 04/07/2022

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V.
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Counter−claimant
              Case: 22-134   Document: 8     Page: 52       Filed: 04/07/2022

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                                                          LEAD ATTORNEY
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Date Filed     #   Docket Text
09/22/2020     15 Standing Order Regarding Notice of Readiness in Patent Cases (Entered: 10/05/2020)
09/29/2020      1 COMPLAINT ( Filing fee $ 400 receipt number 0542−14014950), filed by Sonos,
                  Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                  Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                  11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                  Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                  Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                  Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                  Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                  Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                  Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Civil Cover
                  Sheet)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020      2 REQUEST FOR ISSUANCE OF SUMMONS by Sonos, Inc.. (Johnson, Jeffrey)
                  (Entered: 09/29/2020)
09/29/2020      3 RULE 7 DISCLOSURE STATEMENT filed by Sonos, Inc.. (Johnson, Jeffrey)
                  (Entered: 09/29/2020)
09/29/2020         Case assigned to Judge Alan D Albright. CM WILL NOW REFLECT THE JUDGE
                   INITIALS AS PART OF THE CASE NUMBER. PLEASE APPEND THESE JUDGE
                   INITIALS TO THE CASE NUMBER ON EACH DOCUMENT THAT YOU FILE IN
                   THIS CASE. (am) (Entered: 09/29/2020)
09/29/2020      4 Pursuant to the Standing Order Regarding Patent/Trademark Cases effective 12/9/19,
                  Attorneys filing Patent/Trademark cases in TXWD Waco division must prepare the
                  attached form AO120 and e−file using the "Notice of Filing of Patent/Trademark
                  Form" event upon opening of the case. (am) (Entered: 09/29/2020)
09/29/2020      5 Notice of Filing of Patent/Trademark Form (AO 120). AO 120 forwarded to the
                  Director of the U.S. Patent and Trademark Office. (Johnson, Jeffrey) (Entered:
                  09/29/2020)
09/29/2020      6 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (Clement Seth Roberts) (
                  Filing fee $ 100 receipt number 0542−14015452) by on behalf of Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020      7 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (Bas de Blank) ( Filing
                  fee $ 100 receipt number 0542−14015521) by on behalf of Sonos, Inc.. (Attachments:
                  # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020      8 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (Alyssa Caridis) ( Filing
                  fee $ 100 receipt number 0542−14015605) by on behalf of Sonos, Inc.. (Attachments:
                  # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020      9 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (George I. Lee) ( Filing
                  fee $ 100 receipt number 0542−14015642) by on behalf of Sonos, Inc.. (Attachments:
                  # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020     10 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (Sean M. Sullivan) (
                  Filing fee $ 100 receipt number 0542−14015688) by on behalf of Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
09/29/2020     11 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson (John D. Smith III) (
                  Filing fee $ 100 receipt number 0542−14015767) by on behalf of Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 09/29/2020)
             Case: 22-134      Document: 8         Page: 55       Filed: 04/07/2022

09/29/2020     12 Summons Issued as to Google LLC. (am) (Entered: 09/29/2020)
09/29/2020     13 SUMMONS Returned Executed by Sonos, Inc.. Google LLC served on 9/29/2020,
                  answer due 10/20/2020. (Johnson, Jeffrey) (Entered: 09/29/2020)
10/01/2020     14 MOTION to Appear Pro Hac Vice (Receipt #0542−14015727) by Jeffrey Lance
                  Johnson (Rory Shea) by on behalf of Sonos, Inc.. (Attachments: # 1 Proposed
                  Order)(Johnson, Jeffrey) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 6 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 7 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 8 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 9 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
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10/01/2020         Text Order GRANTING 10 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 11 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/01/2020         Text Order GRANTING 14 Motion to Appear Pro Hac Vice. Before the Court is the
                   Motion for Admission Pro Hac Vice. The Court, having reviewed the Motion, finds it
                   should be GRANTED and therefore orders as follows: IT IS ORDERED the Motion
                   for Admission Pro Hac Vice is GRANTED. IT IS FURTHER ORDERED that
                   Applicant, if he/she has not already done so, shall immediately tender the amount of
                   $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local Rule
                   AT−I (f)(2). IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall apply for admission to the bar of this court in compliance with Local
                   Rule AT−1(f)(1). Pursuant to our Administrative Policies and Procedures for
                   Electronic Filing, the attorney hereby granted to practice pro hac vice in this case must
                   register for electronic filing with our court within 10 days of this order. entered by
                   Judge Alan D Albright. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 10/01/2020)
10/14/2020     16 Unopposed MOTION for Extension of Time to File Answer re 1 Complaint,,, by
                  Google LLC. (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered:
                  10/14/2020)
10/19/2020         Text Order GRANTING 16 Motion for Extension of Time to Answer entered by Judge
                   Alan D Albright. Came on for consideration is Defendant's Motion. Noting that it is
                   unopposed, the Court GRANTS the Motion. Defendant shall have up to and including
                   November 19, 2020 to answer or otherwise respond to Plaintiff's Complaint. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (hs) (Entered: 10/19/2020)
10/19/2020         Reset Deadlines: Google LLC answer due 11/19/2020. (am) (Entered: 10/19/2020)
11/19/2020     17 RULE 7 DISCLOSURE STATEMENT filed by Google LLC. (Amstutz, Paige)
                  (Entered: 11/19/2020)
11/19/2020     18 MOTION to Appear Pro Hac Vice by Paige Arnette Amstutz for Charles K.
                  Verhoeven ( Filing fee $ 100 receipt number 0542−14199446) by on behalf of Google
                  LLC. (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered: 11/19/2020)
11/19/2020     19 MOTION to Appear Pro Hac Vice by Paige Arnette Amstutz for Jordan R. Jaffe (
                  Filing fee $ 100 receipt number 0542−14199465) by on behalf of Google LLC.
                  (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered: 11/19/2020)
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11/19/2020     20 MOTION to Appear Pro Hac Vice by Paige Arnette Amstutz for Lindsay M. Cooper (
                  Filing fee $ 100 receipt number 0542−14199474) by on behalf of Google LLC.
                  (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered: 11/19/2020)
11/19/2020     21 MOTION to Appear Pro Hac Vice by Paige Arnette Amstutz for Melissa J. Baily (
                  Filing fee $ 100 receipt number 0542−14199508) by on behalf of Google LLC.
                  (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered: 11/19/2020)
11/19/2020         Text Order GRANTING 18 Motion to Appear Pro Hac Vice for Attorney Charles K.
                   Verhoeven for Google LLC. Before the Court is the Motion for Admission Pro Hac
                   Vice. The Court, having reviewed the Motion, finds it should be GRANTED and
                   therefore orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice
                   is GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 11/19/2020)
11/19/2020     22 MOTION to Dismiss Google LLC's Rule 12(B)(3) Motion to Stay or Dismiss Pursuant
                  to the First−to−File Rule by Google LLC. (Attachments: # 1 Affidavit Declaration of
                  D. Friedland, # 2 Affidavit Declaration of J. Judah, # 3 Affidavit Declaration of L.
                  Cooper, # 4 Exhibit 1 to Decl. of L. Cooper, # 5 Exhibit 2 to Decl. of L. Cooper, # 6
                  Exhibit 3 to Decl. of L. Cooper, # 7 Exhibit 4 to Decl. of L. Cooper, # 8 Exhibit 5 to
                  Decl. of L. Cooper, # 9 Exhibit 6 to Decl. of L. Cooper, # 10 Exhibit 7 to Decl. of L.
                  Cooper, # 11 Exhibit 8 to Decl. of L. Cooper, # 12 Exhibit 9 to Decl. of L. Cooper, #
                  13 Exhibit 10 to Decl. of L. Cooper, # 14 Exhibit 11 to Decl. of L. Cooper, # 15
                  Exhibit 12 to Decl. of L. Cooper, # 16 Exhibit 13 to Decl. of L. Cooper, # 17 Exhibit
                  14 to Decl. of L. Cooper, # 18 Exhibit 15 to Decl. of L. Cooper, # 19 Exhibit 16 to
                  Decl. of L. Cooper, # 20 Exhibit 17 to Decl. of L. Cooper, # 21 Exhibit 18 to Decl. of
                  L. Cooper, # 22 Exhibit 19 to Decl. of L. Cooper, # 23 Exhibit 20 to Decl. of L.
                  Cooper, # 24 Exhibit 21 to Decl. of L. Cooper, # 25 Exhibit 22 to Decl. of L. Cooper,
                  # 26 Exhibit 23 to Decl. of L. Cooper, # 27 Exhibit 24 to Decl. of L. Cooper, # 28
                  Exhibit 25 to Decl. of L. Cooper, # 29 Exhibit 26 to Decl. of L. Cooper, # 30 Exhibit
                  27 to Decl. of L. Cooper)(Amstutz, Paige) Modified on 9/23/2021 (ir). (Entered:
                  11/19/2020)
11/19/2020     23 Unopposed Motion for leave to File Sealed Document (Attachments: # 1 Exhibit A, #
                  2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Proposed
                  Order) (Amstutz, Paige) (Entered: 11/19/2020)
11/19/2020         Text Order GRANTING 19 Motion to Appear Pro Hac Vice for Attorney Jordan R.
                   Jaffe for Google LLC. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 11/19/2020)
11/19/2020         Text Order GRANTING 20 Motion to Appear Pro Hac Vice for Attorney Lindsay M.
                   Cooper for Google LLC. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
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                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 11/19/2020)
11/19/2020         Text Order GRANTING 21 Motion to Appear Pro Hac Vice for Attorney Melissa J.
                   Baily for Google LLC. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 11/19/2020)
11/25/2020     24 NOTICE of Attorney Appearance by Mark D. Siegmund on behalf of Sonos, Inc..
                  Attorney Mark D. Siegmund added to party Sonos, Inc.(pty:pla) (Siegmund, Mark)
                  (Entered: 11/25/2020)
11/30/2020     25 STATUS REPORT Case Readiness Status Report by Sonos, Inc.. (Attachments: # 1
                  Exhibit A − NDCA Order on Motion to Dismiss, # 2 Exhibit B − Transcript of
                  Telephonic Proceedings)(Siegmund, Mark) (Entered: 11/30/2020)
12/03/2020     26 Response in Opposition to Motion, filed by Sonos, Inc., re 22 MOTION to Dismiss
                  Google LLC's Rule 12(B)(3) Motion to Stay or Dismiss Pursuant to the First−to−File
                  Rule filed by Defendant Google LLC (Attachments: # 1 Declaration of Mark D.
                  Siegmund, # 2 Exhibit A − Email Chain Between Sonos and Google Counsel, # 3
                  Exhibit B − Judge Alsup's Order)(Siegmund, Mark) (Entered: 12/03/2020)
12/10/2020     27 RESPONSE in Support, filed by Google LLC, re 22 MOTION to Dismiss Google
                  LLC's Rule 12(B)(3) Motion to Stay or Dismiss Pursuant to the First−to−File Rule
                  filed by Defendant Google LLC (Attachments: # 1 Affidavit Declaration of Lindsay
                  Cooper, # 2 Exhibit Ex. 1 to Decl. of Lindsay Cooper)(Amstutz, Paige) (Entered:
                  12/10/2020)
12/12/2020     28 NOTICE OF COMPLIANCE REGARDING SERVICE OF PRELIMINARY
                  INFRINGEMENT CONTENTIONS by Sonos, Inc. (Siegmund, Mark) (Entered:
                  12/12/2020)
12/14/2020         Text Order GRANTING 23 Motion for Leave to File Sealed Document entered by
                   Judge Alan D Albright. The Motion is GRANTED, and the Clerk 's Office is directed
                   to file the attached documents under seal. If it has not already done so, Google is
                   ordered to file a redacted version of the sealed civil document within 7 days after the
                   filing of this order.(This is a text−only entry generated by the court. There is no
                   document associated with this entry.) (hs) (Entered: 12/14/2020)
12/15/2020     29 Google LLC's Rule 12(B)(3) Motion to Stay or Dismiss Pursuant to the First−to File
                  Rule (Attachments: # 1 Declaration of James Judah, # 2 Declaration of Daniel S.
                  Friedland, # 3 Exhibit 4, # 4 Exhibit 7, # 5 Exhibit 8) (am) Modified on 9/22/2021 (ir).
                  (Entered: 12/15/2020)
12/18/2020     30 Joint MOTION to Enter Scheduling Order by Sonos, Inc.. (Attachments: # 1 Exhibit
                  A)(Siegmund, Mark) (Entered: 12/18/2020)
01/05/2021     31 SCHEDULING ORDER: Markman Hearing set for 6/4/2021 09:00 AM before Judge
                  Alan D Albright, Joinder of Parties due by 7/16/2021, Amended Pleadings due by
                  9/24/2021, Motions due by 3/11/2022,Pretrial Conference set for 5/13/2022 before
                  Judge Alan D Albright, Jury Selection and Trial set for 6/6/2022 before Judge Alan D
                  Albright. Signed by Judge Alan D Albright. (lad) (Entered: 01/05/2021)
01/08/2021     32 ANSWER to 1 Complaint,,, with Jury Demand , COUNTERCLAIM against Sonos,
                  Inc. by Google LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 (sealed))(Verhoeven,
                  Charles) (Entered: 01/08/2021)
01/08/2021     33 Unopposed Motion for leave to File Sealed Document (Attachments: # 1 Exhibit A, #
                  2 Exhibit B, # 3 Proposed Order) (Verhoeven, Charles) (Entered: 01/08/2021)
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01/08/2021     34 MOTION to Transfer Case to the Northern District of California by Google LLC.
                  (Attachments: # 1 Affidavit Declaration of Daniel Friedland, # 2 Affidavit Declaration
                  of James Judah, # 3 Affidavit Declaration of Lindsay Cooper, # 4 Exhibit 1 to Decl. of
                  Lindsay Cooper (sealed), # 5 Exhibit 2 to Decl. of Lindsay Cooper (sealed), # 6
                  Exhibit 3 to Decl. of Lindsay Cooper (sealed), # 7 Exhibit 4 to Decl. of Lindsay
                  Cooper, # 8 Exhibit 5 to Decl. of Lindsay Cooper, # 9 Exhibit 6 to Decl. of Lindsay
                  Cooper, # 10 Exhibit 7 to Decl. of Lindsay Cooper (sealed), # 11 Exhibit 8 to Decl. of
                  Lindsay Cooper (sealed), # 12 Exhibit 9 to Decl. of Lindsay Cooper (sealed), # 13
                  Exhibit 10 to Decl. of Lindsay Cooper (sealed), # 14 Exhibit 11 to Decl. of Lindsay
                  Cooper, # 15 Exhibit 12 to Decl. of Lindsay Cooper, # 16 Exhibit 13 to Decl. of
                  Lindsay Cooper, # 17 Exhibit 14 to Decl. of Lindsay Cooper, # 18 Exhibit 15 to Decl.
                  of Lindsay Cooper, # 19 Exhibit 16 to Decl. of Lindsay Cooper, # 20 Exhibit 17 to
                  Decl. of Lindsay Cooper, # 21 Exhibit 18 to Decl. of Lindsay Cooper, # 22 Exhibit 19
                  to Decl. of Lindsay Cooper, # 23 Exhibit 20 to Decl. of Lindsay Cooper, # 24 Exhibit
                  21 to Decl. of Lindsay Cooper, # 25 Exhibit 22 to Decl. of Lindsay Cooper, # 26
                  Exhibit 23 to Decl. of Lindsay Cooper, # 27 Exhibit 24 to Decl. of Lindsay Cooper, #
                  28 Exhibit 25 to Decl. of Lindsay Cooper, # 29 Exhibit 26 to Decl. of Lindsay Cooper,
                  # 30 Exhibit 27 to Decl. of Lindsay Cooper, # 31 Exhibit 28 to Decl. of Lindsay
                  Cooper, # 32 Exhibit 29 to Decl. of Lindsay Cooper, # 33 Exhibit 30 to Decl. of
                  Lindsay Cooper, # 34 Exhibit 31 to Decl. of Lindsay Cooper, # 35 Exhibit 32 to Decl.
                  of Lindsay Cooper, # 36 Proposed Order)(Verhoeven, Charles) Modified on 9/22/2021
                  (ir). (Entered: 01/08/2021)
01/08/2021     35 Unopposed Motion for leave to File Sealed Document (Attachments: # 1 Exhibit A, #
                  2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, #
                  8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Proposed Order) (Verhoeven, Charles)
                  (Entered: 01/08/2021)
01/14/2021         Text Order GRANTING 33 Motion for Leave to File Sealed Document entered by
                   Judge Alan D Albright. The Motion is GRANTED, and the Clerk 's Office is directed
                   to file the attached documents under seal.(This is a text−only entry generated by the
                   court. There is no document associated with this entry.) (hs) (Entered: 01/14/2021)
01/14/2021         Text Order GRANTING 35 Motion for Leave to File Sealed Document entered by
                   Judge Alan D Albright. The Motion is GRANTED, and the Clerk 's Office is directed
                   to file the attached documents under seal. (This is a text−only entry generated by the
                   court. There is no document associated with this entry.) (hs) (Entered: 01/14/2021)
01/14/2021     36 Sealed Document filed: Unredacted copy of 32 Answer and (Attachments: # 1 Exhibit
                  B) (lad) (Entered: 01/14/2021)
01/14/2021     37 Sealed Motion filed: GOOGLE LLCS MOTION TO TRANSFER (Attachments: # 1
                  Declaration in Support, # 2 Declaration in Support, # 3 Exhibit 1, # 4 Exhibit 2, # 5
                  Exhibit 3, # 6 Exhibit 7, # 7 Exhibit 8, # 8 Exhibit, # 9 Exhibit) (lad) (Entered:
                  01/14/2021)
01/14/2021     38 SCHEDULING ORDER: Motions due by 3/11/2022 Joinder of Parties due by
                  7/16/2021. Amended Pleadings due by 9/24/2021. Markman Hearing set for 6/4/2021
                  09:00 AM before Judge Alan D Albright. Pretrial Conference set for 5/13/2022 before
                  Judge Alan D Albright. Jury Selection and Jury Trial set for 6/6/2022 09:00 AM
                  before Judge Alan D Albright..Motions terminated: 30 Joint MOTION to Enter
                  Scheduling Order filed by Sonos, Inc.. Signed by Judge Alan D Albright. (am)
                  (Entered: 01/14/2021)
01/14/2021     39 MOTION for Leave to File TO AMEND OR SUPPLEMENT COMPLAINT by
                  Sonos, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
                  # 5 Proposed Order)(Caridis, Alyssa) (Entered: 01/14/2021)
01/21/2021     40 RESPONSE to Motion, filed by Google LLC, re 39 MOTION for Leave to File TO
                  AMEND OR SUPPLEMENT COMPLAINT filed by Plaintiff Sonos, Inc.
                  (Attachments: # 1 Affidavit Declaration of Lindsay Cooper, # 2 Exhibit 1 to Cooper
                  Decl., # 3 Exhibit 2 to Cooper Decl., # 4 Proposed Order)(Verhoeven, Charles)
                  (Entered: 01/21/2021)
01/27/2021     41 RESPONSE in Support, filed by Sonos, Inc., re 39 MOTION for Leave to File TO
                  AMEND OR SUPPLEMENT COMPLAINT filed by Plaintiff Sonos, Inc. (Siegmund,
                  Mark) (Entered: 01/27/2021)
             Case: 22-134       Document: 8         Page: 60       Filed: 04/07/2022

01/27/2021     42 MOTION to Stay Proceedings Pending Resolution of Google's Motion To Transfer,
                  Or in the Alternative, Motion To Modify The Case Schedule by Google LLC.
                  (Attachments: # 1 Affidavit Declaration of Lindsay Cooper, # 2 Exhibit 1 to Cooper
                  Decl., # 3 Exhibit 2 to Cooper Decl., # 4 Proposed Order)(Verhoeven, Charles)
                  Modified on 9/22/2021 (ir). (Entered: 01/27/2021)
01/28/2021     43 ORDER Setting Zoom Discovery Hearing for 1/29/2021 03:30 PM before Judge Alan
                  D Albright. Signed by Judge Alan D Albright. (bot1) (Entered: 01/28/2021)
01/29/2021     44 SONOS, INC.S ANSWER to 32 Answer to Complaint, Counterclaim TO GOOGLE
                  LLCS COUNTERCLAIMS by Sonos, Inc..(Caridis, Alyssa) (Entered: 01/29/2021)
01/29/2021     45 Minute Entry for proceedings held before Judge Alan D Albright: Discovery Hearing
                  held on 1/29/2021. Case called for Discovery Hearing. Parties announce ready.
                  Plaintiff argues their (dkt #39) Motion for Leave to Amend or Supplement the
                  Complaint to add the 885 patent which are of the same family of the already existing
                  206 and 966 patent. Google agrees as long as they can extend all deadlines by 8 weeks,
                  but plaintiff does not agree to that stipulation. The court announces that the Motion
                  will be Granted; the Markman will be moved from June 4, 2021 to July 1, 2021 (time
                  yet unset); all dates are shifted accordingly. It is the courts intent to address
                  Defendants SEALED (dkt #37) motion before the Markman hearing and requests that
                  Google notify the court once the motion is ripe. Plaintiff announces to the court their
                  intention to drop the 406 patent from the suit and will be filing a pleading with the
                  court in short order. Written Order forthcoming. Hearing concluded (Minute entry
                  documents are not available electronically.). (Court Reporter Kristie Davis.)(am)
                  Modified on 2/1/2021 (am). (Entered: 02/01/2021)
02/08/2021     46 Transcript filed of Proceedings held on 1−29−21, Proceedings Transcribed: Discovery
                  Hearing (Zoom). Court Reporter/Transcriber: Kristie Davis, Telephone number:
                  254−340−6114. Parties are notified of their duty to review the transcript to ensure
                  compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the
                  court reporter or viewed at the clerk's office public terminal. If redaction is necessary,
                  a Notice of Redaction Request must be filed within 21 days. If no such Notice is filed,
                  the transcript will be made available via PACER without redaction after 90 calendar
                  days. The clerk will mail a copy of this notice to parties not electronically noticed
                  Redaction Request due 3/1/2021, Redacted Transcript Deadline set for 3/11/2021,
                  Release of Transcript Restriction set for 5/10/2021, (kd) (Entered: 02/08/2021)
02/10/2021     47 Joint MOTION to Enter Amended Scheduling Order by Google LLC. (Attachments: #
                  1 Exhibit A)(Verhoeven, Charles) (Entered: 02/10/2021)
02/11/2021     48 SCHEDULING ORDER: Markman Hearing set for 7/1/2021 09:00 AM before Judge
                  Alan D Albright. Joinder of Parties due by 8/13/2021. Amended Pleadings due by
                  10/22/2021. Motions due by 4/8/2022. Pretrial Conference set for 6/1/2022 09:00 AM
                  before Judge Alan D Albright. Jury Selection and Jury Trial set for 6/6/2022 09:00
                  AM before Judge Alan D Albright. Motions terminated: 47 Joint MOTION to Enter
                  Amended Scheduling Order filed by Google LLC. Signed by Judge Alan D Albright.
                  (am) (Entered: 02/11/2021)
02/12/2021          Text Order GRANTING 39 Motion for Leave to File entered by Judge Alan D
                    Albright. Came on for consideration is Plaintiff's Motion. On January 29, 2021, the
                    Court held a hearing and GRANTED this Motion. Therefore, the Clerk's office is
                    directed to file the attached Amended Complaint and exhibits. (This is a text−only
                    entry generated by the court. There is no document associated with this entry.) (hs)
                    (Entered: 02/12/2021)
02/12/2021     52 Standing Order Regarding Filing Documents Under Seal and Redacted Pleadings in
                  Patent Cases. Signed by Judge Alan D Albright. as of 2/12/2021. (bot1) (Entered:
                  02/24/2021)
02/17/2021     49 AMENDED COMPLAINT against Google LLC filed by Sonos, Inc.. (Attachments: #
                  1 Exhibit Supplemental Preliminary Infringement Contentions and Identification of
                  Priority Dates)(am) (Additional attachment(s) added on 2/17/2021: # 2 Exhibit) (am).
                  (Entered: 02/17/2021)
02/18/2021     50 Unopposed MOTION for Leave to File SECOND AMENDED COMPLAINT by
                  Sonos, Inc.. (Attachments: # 1 Proposed Order, # 2 Second Amended Complaint, # 3
                  Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9
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                    Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, # 12 Exhibit 10, # 13 Exhibit 11, # 14
                    Exhibit 12, # 15 Exhibit 13, # 16 Exhibit 14, # 17 Exhibit 15, # 18 Exhibit 16, # 19
                    Exhibit 17, # 20 Exhibit 18, # 21 Exhibit 19, # 22 Exhibit 20, # 23 Exhibit 21, # 24
                    Exhibit 22, # 25 Exhibit 23, # 26 Exhibit 24, # 27 Exhibit 25, # 28 Exhibit 26, # 29
                    Exhibit 27, # 30 Exhibit 28, # 31 Exhibit 29, # 32 Exhibit 30, # 33 Exhibit 31, # 34
                    Exhibit 32, # 35 Exhibit 33, # 36 Exhibit 34, # 37 Exhibit 35, # 38 Exhibit 36, # 39
                    Exhibit 37, # 40 Exhibit 38, # 41 Exhibit 39, # 42 Exhibit 40, # 43 Exhibit 41, # 44
                    Exhibit 42, # 45 Exhibit 43, # 46 Exhibit 44, # 47 Exhibit 45)(Caridis, Alyssa)
                    (Entered: 02/18/2021)
02/23/2021          Text Order GRANTING 50 Motion for Leave to File entered by Judge Alan D
                    Albright. Before the Court is Plaintiff's Motion for Leave to File its Second Amended
                    Complaint. Noting that the Motion is unopposed, the Court GRANTS the Motion.
                    Accordingly, Plaintiff's Second Amended Complaint is hereby accepted for filing and
                    entered into the record.(This is a text−only entry generated by the court. There is no
                    document associated with this entry.) (hs) (Entered: 02/23/2021)
02/23/2021     51 SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT against
                  Google LLC filed by Sonos, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                  Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                  Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                  Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                  Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                  Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                  Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34
                  Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39
                  Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44
                  Exhibit 44, # 45 Exhibit 45)(am) (Entered: 02/23/2021)
02/24/2021     53 MOTION to Appear Pro Hac Vice by Jeffrey Lance Johnson [Kristina McKenna] (
                  Filing fee $ 100 receipt number 0542−14523312) by on behalf of Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Johnson, Jeffrey) (Entered: 02/24/2021)
02/26/2021          Text Order GRANTING 53 Motion to Appear Pro Hac Vice for Attorney Kristina
                    DiBenedetto McKenna for Sonos, Inc. Before the Court is the Motion for Admission
                    Pro Hac Vice. The Court, having reviewed the Motion, finds it should be GRANTED
                    and therefore orders as follows: IT IS ORDERED the Motion for Admission Pro Hac
                    Vice is GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not
                    already done so, shall immediately tender the amount of $100.00, made payable to:
                    Clerk, U.S. District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                    Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                    granted to practice pro hac vice in this case must register for electronic filing with our
                    court within 10 days of this order entered by Judge Alan D Albright. (This is a
                    text−only entry generated by the court. There is no document associated with this
                    entry.) (mm6) (Entered: 02/26/2021)
03/03/2021     54 MOTION to Appear Pro Hac Vice by Mark D. Siegmund on behalf of Matthew J.
                  Sampson ( Filing fee $ 100 receipt number 0542−14547997) by on behalf of Sonos,
                  Inc.. (Attachments: # 1 Proposed Order)(Siegmund, Mark) (Entered: 03/03/2021)
03/05/2021          Text Order GRANTING 54 Motion to Appear Pro Hac Vice for Attorney Matthew J.
                    Sampson for Sonos, Inc. Before the Court is the Motion for Admission Pro Hac Vice.
                    The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                    orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                    GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                    done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                    District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                    Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                    granted to practice pro hac vice in this case must register for electronic filing with our
                    court within 10 days of this order entered by Judge Alan D Albright. (This is a
                    text−only entry generated by the court. There is no document associated with this
                    entry.) (mm6) (Entered: 03/05/2021)
03/09/2021     55 Motion to Dismiss for Failure to State a Claim by Google LLC. (Verhoeven, Charles)
                  (Entered: 03/09/2021)
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03/23/2021     56 RESPONSE to Motion, filed by Sonos, Inc., re 55 Motion to Dismiss for Failure to
                  State a Claim filed by Google LLC (Johnson, Jeffrey) (Entered: 03/23/2021)
03/30/2021     57 RESPONSE in Support, filed by Google LLC, re 55 Motion to Dismiss for Failure to
                  State a Claim filed by Google LLC (Verhoeven, Charles) (Entered: 03/30/2021)
04/22/2021     58 Joint MOTION TO PARTIALLY AMEND THE SCHEDULING ORDER by Sonos,
                  Inc.. (Attachments: # 1 Exhibit A)(Siegmund, Mark) (Entered: 04/22/2021)
04/23/2021     59 ORDER GRANTING 58 Motion TO PARTIALLY AMEND THE SCHEDULING
                  ORDER. Signed by Judge Alan D Albright. (bw) (Entered: 04/23/2021)
04/27/2021     60 BRIEF by Sonos, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                  Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                  Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                  Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                  Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                  Exhibit 25)(Siegmund, Mark) (Entered: 04/27/2021)
05/18/2021     61 Unopposed MOTION to Partially Amend the Scheduling Order by Google LLC.
                  (Attachments: # 1 Exhibit A)(Amstutz, Paige) (Entered: 05/18/2021)
05/19/2021     62 ORDER GRANTING 61 Motion partially Amend Scheduling Order Signed by Judge
                  Alan D Albright. (lad) (Entered: 05/20/2021)
05/19/2021          Reset Hearings: Markman Hearing set for 7/15/2021 09:30 AM before Judge Alan D
                    Albright, (lad) (Entered: 05/20/2021)
05/24/2021     63 NOTICE Defendant Google LLC's Notice on Venue Discovery and Briefing Deadlines
                  by Google LLC (Amstutz, Paige) (Entered: 05/24/2021)
06/01/2021     64 RESPONSE to Motion, filed by Google LLC, re 61 Unopposed MOTION to Partially
                  Amend the Scheduling Order filed by Defendant Google LLC Google's Response
                  Claim Construction Brief (Attachments: # 1 Declaration of J. Jaffe, # 2 Ex. 1, # 3 Ex.
                  2, # 4 Ex. 3, # 5 Ex. 4, # 6 Ex. 5, # 7 Ex. 6, # 8 Ex. 7, # 9 Ex. 8, # 10 Ex. 9, # 11 Ex.
                  10, # 12 Ex. 11, # 13 Ex. 12, # 14 Ex. 13, # 15 Ex. 14, # 16 Ex. 15, # 17 Ex. 16, # 18
                  Ex. 17)(Verhoeven, Charles) (Entered: 06/01/2021)
06/03/2021     65 STATUS REPORT Defendant Google LLC's Status Report on Motion to Transfer by
                  Google LLC. (Amstutz, Paige) (Entered: 06/03/2021)
06/15/2021     66 BRIEF regarding 60 Brief,, by Sonos, Inc.. (Attachments: # 1 Exhibit 26, # 2 Exhibit
                  27, # 3 Exhibit 28, # 4 Exhibit 29, # 5 Exhibit 30, # 6 Exhibit 31)(Siegmund, Mark)
                  (Entered: 06/15/2021)
06/15/2021     67 Sealed Document: Sonos's Response to Google's Motion to Transfer of 34 MOTION
                  to Transfer Case to the Northern District of California by Sonos, Inc. (Attachments: #
                  1 Ex. 2, # 2 Ex. 3, # 3 Ex. 5, # 4 Ex. 7, # 5 Ex. 8, # 6 Ex. 9, # 7 Ex. 26, # 8 Ex. 29, # 9
                  Ex. 30) (Siegmund, Mark) (Entered: 06/15/2021)
06/15/2021     68 ATTACHMENT: Unsealed exhibits to 67 Sealed Document, by Sonos, Inc..
                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                  6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                  11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16,
                  # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, #
                  22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27
                  Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32
                  Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37
                  Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42
                  Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Declaration of
                  Mark Siegmund)(Siegmund, Mark) Modified on 6/16/2021 (lad). (Entered:
                  06/15/2021)
06/16/2021     69 Standing Order regarding Scheduling Order. Signed by Judge Alan D Albright.
                  (Entered: 06/17/2021)
06/21/2021     70 ORDER RESETTING Zoom Markman Hearing for 8/6/2021 09:30 AM before Judge
                  Alan D Albright. Signed by Judge Alan D Albright. (bot1) (Entered: 06/21/2021)
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06/22/2021     71 MOTION to Appear Pro Hac Vice by Mark D. Siegmund for Cole B. Richter ( Filing
                  fee $ 100 receipt number 0542−14936997) by on behalf of Sonos, Inc.. (Attachments:
                  # 1 Proposed Order)(Siegmund, Mark) (Entered: 06/22/2021)
06/22/2021     72 MOTION to Appear Pro Hac Vice by Mark D. Siegmund for David R. Grosby ( Filing
                  fee $ 100 receipt number 0542−14937019) by on behalf of Sonos, Inc.. (Attachments:
                  # 1 Proposed Order)(Siegmund, Mark) (Main Document 72 replaced on 6/22/2021)
                  (ir). (Attachment 1 replaced on 6/22/2021) (ir). (Entered: 06/22/2021)
06/22/2021     73 MOTION to Appear Pro Hac Vice by Mark D. Siegmund for Jae Y. Pak ( Filing fee $
                  100 receipt number 0542−14937034) by on behalf of Sonos, Inc.. (Attachments: # 1
                  Proposed Order)(Siegmund, Mark) (Entered: 06/22/2021)
06/22/2021     74 MOTION to Appear Pro Hac Vice by Mark D. Siegmund for Michael P. Boyea (
                  Filing fee $ 100 receipt number 0542−14937065) by on behalf of Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Siegmund, Mark) (Main Document 74 replaced on
                  6/23/2021) (lad). (Entered: 06/22/2021)
06/22/2021     75 ORDER SETTING SEALED DISCOVERY HEARING. SEALED DISCOVERY
                  HEARING BY ZOOM set for 6/22/2021 03:00 PM before Judge Alan D Albright.
                  Signed by Judge Alan D Albright. (ir) (Entered: 06/22/2021)
06/22/2021     76 Minute Entry for proceedings held before Judge Alan D Albright: Discovery Hearing
                  held on 6/22/2021 (Minute entry documents are not available electronically.)Case
                  called for Discovery Hearing. Parties argued their issues regarding discovery. The
                  Court heardall arguments and will be issuing an Order as soon as possible. (Court
                  Reporter Kristie Davis.)(ab4) (Entered: 06/22/2021)
06/22/2021     77 Redacted Copy Sonos's Response to Google's Motion to Transfer of 67 Sealed
                  Document, by Sonos, Inc.. (Siegmund, Mark) (Entered: 06/22/2021)
06/23/2021     78 Transcript filed of Proceedings held on 6−22−21, Proceedings Transcribed: Discovery
                  Hearing (Zoom). Court Reporter/Transcriber: Kristie Davis, Telephone number:
                  254−340−6114. Parties are notified of their duty to review the transcript to ensure
                  compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the
                  court reporter or viewed at the clerk's office public terminal. If redaction is necessary,
                  a Notice of Redaction Request must be filed within 21 days. If no such Notice is filed,
                  the transcript will be made available via PACER without redaction after 90 calendar
                  days. The clerk will mail a copy of this notice to parties not electronically noticed
                  Redaction Request due 7/14/2021, Redacted Transcript Deadline set for 7/26/2021,
                  Release of Transcript Restriction set for 9/21/2021, (kd) (Entered: 06/23/2021)
06/23/2021     79 TRANSCRIPT REQUEST by Sonos, Inc. for proceedings held on 6/22/2021.
                  Proceedings Transcribed: Discovery Hearing. Court Reporter: Kristie Davis. (Caridis,
                  Alyssa) (Entered: 06/23/2021)
06/25/2021     80 Joint MOTION to Enter Discovery Order re 76 Discovery Hearing, by Sonos, Inc..
                  (Attachments: # 1 Proposed Order)(Siegmund, Mark) Modified on 9/23/2021 (ir).
                  (Entered: 06/25/2021)
06/29/2021     81 RESPONSE (Surreply Claim Construction Brief) to 66 Brief by Google LLC.
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                  E)(Verhoeven, Charles) (Entered: 06/29/2021)
06/29/2021     82 Sealed Document: Google's Reply in Support of 34 MOTION to Transfer Case to the
                  Northern District of California by Google LLC (Attachments: # 1 Affidavit
                  Declaration of Umesh Patil, # 2 Affidavit Declaration of James Judah, # 3 Exhibit 2, #
                  4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, #
                  10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15
                  Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 19, # 19 Exhibit 20)
                  (Verhoeven, Charles) (Entered: 06/29/2021)
06/29/2021     83 ATTACHMENT Public Exhibits to 82 Sealed Document,, by Google LLC.
                  (Attachments: # 1 Affidavit Declaration of Lindsay Cooper, # 2 Exhibit 1, # 3 Exhibit
                  17, # 4 Exhibit 18, # 5 Exhibit 21, # 6 Exhibit 22, # 7 Exhibit 23, # 8 Exhibit 24, # 9
                  Exhibit 25, # 10 Exhibit 26, # 11 Exhibit 27, # 12 Exhibit 28, # 13 Exhibit 29, # 14
                  Exhibit 30, # 15 Exhibit 31)(Verhoeven, Charles) (Entered: 06/29/2021)
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07/06/2021     84 Redacted Copy −− Google's Reply in Support of Motion to Transfer of 82 Sealed
                  Document,, by Google LLC. (Verhoeven, Charles) (Entered: 07/06/2021)
07/13/2021     85 STIPULATION Concerning Pre−Markman and Fact Discovery Deadlines by Sonos,
                  Inc.. (Siegmund, Mark) (Entered: 07/13/2021)
07/14/2021         Text Order GRANTING 71 Motion to Appear Pro Hac Vice for Attorney Cole B.
                   Richter for Sonos, Inc. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 07/14/2021)
07/14/2021         Text Order GRANTING 72 Motion to Appear Pro Hac Vice for Attorney David R.
                   Grosby for Sonos, Inc. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 07/14/2021)
07/14/2021         Text Order GRANTING 73 Motion to Appear Pro Hac Vice for Attorney Jae Y. Pak
                   for Sonos, Inc. Before the Court is the Motion for Admission Pro Hac Vice. The Court,
                   having reviewed the Motion, finds it should be GRANTED and therefore orders as
                   follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is GRANTED. IT
                   IS FURTHER ORDERED that Applicant, if he/she has not already done so, shall
                   immediately tender the amount of $100.00, made payable to: Clerk, U.S. District
                   Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our Administrative
                   Policies and Procedures for Electronic Filing, the attorney hereby granted to practice
                   pro hac vice in this case must register for electronic filing with our court within 10
                   days of this order entered by Judge Alan D Albright. (This is a text−only entry
                   generated by the court. There is no document associated with this entry.) (mm6)
                   (Entered: 07/14/2021)
07/14/2021         Text Order GRANTING 74 Motion to Appear Pro Hac Vice for Attorney Michael P.
                   Boyea for Sonos, Inc. Before the Court is the Motion for Admission Pro Hac Vice.
                   The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                   orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                   GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                   done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                   District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                   Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                   granted to practice pro hac vice in this case must register for electronic filing with our
                   court within 10 days of this order entered by Judge Alan D Albright. (This is a
                   text−only entry generated by the court. There is no document associated with this
                   entry.) (mm6) (Entered: 07/14/2021)
07/16/2021     86 Unopposed MOTION for Leave to File Sur−Reply by Sonos, Inc.. (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Proposed Order)(Siegmund, Mark) (Entered: 07/16/2021)
07/20/2021     87 Joint MOTION for Extension of Time Concerning Pre−Markman and Fact Discovery
                  Deadlines by Sonos, Inc.. (Attachments: # 1 Proposed Order)(Siegmund, Mark)
                  (Entered: 07/20/2021)
07/21/2021         Text Order GRANTING 86 Motion entered by Judge Alan D Albright. Came on for
                   consideration is Plaintiff's Motion for Leave to File Sur−Reply. The Court GRANTS
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                    the Motion. Plaintiff shall have up to and including July 21, 2021 to file a seven (7)
                    page sur−reply. (This is a text−only entry generated by the court. There is no
                    document associated with this entry.) (hs) (Entered: 07/21/2021)
07/21/2021     88 ORDER ON GOOGLES VENUE DISCOVERY REQUESTS. Signed by Judge Alan
                  D Albright. (ir) (Entered: 07/21/2021)
07/21/2021     89 ORDER GRANTING 87 MOTION for Extension of Time filed by Sonos, Inc. Signed
                  by Judge Alan D Albright. (ir) (Entered: 07/21/2021)
07/21/2021     90 ORDER on SEALED MOTION HEARING BY ZOOM. Motion Hearing set for
                  7/23/2021 10:30 AM before Judge Alan D Albright. Signed by Judge Alan D Albright.
                  (ir) (Entered: 07/21/2021)
07/21/2021     91 Sealed Motion Sonos, Inc.'s Sur−Reply to Google LLC's Motion to Transfer by Sonos,
                  Inc. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                  Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                  11 Exhibit 11) (Siegmund, Mark) Modified on 9/23/2021 (ir). (Entered: 07/21/2021)
07/21/2021     92 ATTACHMENT Public Exhibits to 91 Sealed Motion Sonos, Inc.'s Sur−Reply to
                  Google LLC's Motion to Transfer by Sonos, Inc. by Sonos, Inc.. (Attachments: # 1
                  Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                  Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11)(Siegmund,
                  Mark) (Entered: 07/21/2021)
07/23/2021     93 Minute Entry for proceedings held before Judge Alan D Albright: Motion Hearing
                  held on 7/23/2021 re 91 Sealed Motion Sonos, Inc.'s Sur−Reply to Google LLC's
                  Motion to Transfer by Sonos, Inc. filed by Sonos, Inc. Case called for a Motion
                  Hearing. The Court heard argument on the motion at issue. After hearing theargument,
                  the Court took pending motion under advisement and will issue and Order as soon
                  aspossible. (Minute entry documents are not available electronically.). (Court Reporter
                  Shelly Holmes.)(ab4) (Entered: 07/23/2021)
07/26/2021     94 STATUS REPORT Joint Claim Construction Statement by Sonos, Inc.. (Siegmund,
                  Mark) (Entered: 07/26/2021)
07/28/2021     95 Sealed Transcript filed (This transcript is not available electronically) (kd) (Entered:
                  07/28/2021)
07/29/2021     96 STIPULATION Concerning Hearing Transcript by Sonos, Inc.. (Siegmund, Mark)
                  Modified on 7/30/2021 (lad). Modified on 9/23/2021 to terminate motion per JG (ir).
                  (Entered: 07/29/2021)
08/02/2021     97 ***VACATED BY 116 *** Order DENYING DEFENDANT GOOGLES MOTION
                  TO TRANSFER. Copies will be sent via USPS or are available for local pickup.
                  Signed by Judge Alan D Albright. (bw) Modified on 8/19/2021 (mc5). Modified on
                  9/27/2021 (lad). (Entered: 08/02/2021)
08/02/2021     98 ORDER RESCHEDULING MARKMAN HEARING. Markman Hearing reset for
                  8/10/2021 09:30 AM before Judge Alan D Albright. Signed by Judge Alan D Albright.
                  (ir) (Entered: 08/02/2021)
08/03/2021     99 MOTION to Expedite THE BRIEFING SCHEDULE ON ITS MOTION TO STAY
                  CLAIM CONSTRUCTION PROCEEDINGS PENDING RESOLUTION OF GOOGLES
                  MANDAMUS PETITION by Google LLC. (Attachments: # 1 Proposed
                  Order)(Verhoeven, Charles) (Entered: 08/03/2021)
08/04/2021    100 MOTION to Stay Claim Construction Proceedings by Google LLC. (Attachments: # 1
                  Proposed Order)(Verhoeven, Charles) (Entered: 08/04/2021)
08/05/2021    101 STATUS REPORT Amended Joint Claim Construction Statement by Google LLC.
                  (Amstutz, Paige) (Entered: 08/05/2021)
08/05/2021    102 Response in Opposition to Motion, filed by Sonos, Inc., re 100 MOTION to Stay
                  Claim Construction Proceedings filed by Defendant Google LLC (Attachments: # 1
                  Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Siegmund, Mark) (Entered: 08/05/2021)
08/06/2021    104 Federal Circuit ORDER denying it's document #5 Motion for stay pending appeal
                  under Rule 8/18 filed by Google LLC. (re 99 MOTION to Expedite THE BRIEFING
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                    SCHEDULE ON ITS MOTION TO STAY CLAIM CONSTRUCTION PROCEEDINGS
                    PENDING RESOLUTION OF GOOGLES MANDAMUS PETITION filed by Google
                    LLC, 100 MOTION to Stay Claim Construction Proceedings filed by Google LLC ).
                    (lad) (Entered: 08/09/2021)
08/09/2021    103 MOTION to Appear Pro Hac Vice by Paige Arnette Amstutz for Marc L. Kaplan (
                  Filing fee $ 100 receipt number 0542−15093621) by on behalf of Google LLC.
                  (Attachments: # 1 Proposed Order)(Amstutz, Paige) (Entered: 08/09/2021)
08/09/2021          Text Order GRANTING 103 Motion to Appear Pro Hac Vice for Attorney Marc L.
                    Kaplan for Google LLC. Before the Court is the Motion for Admission Pro Hac Vice.
                    The Court, having reviewed the Motion, finds it should be GRANTED and therefore
                    orders as follows: IT IS ORDERED the Motion for Admission Pro Hac Vice is
                    GRANTED. IT IS FURTHER ORDERED that Applicant, if he/she has not already
                    done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
                    District Court, in compliance with Local Rule AT−I (f)(2). Pursuant to our
                    Administrative Policies and Procedures for Electronic Filing, the attorney hereby
                    granted to practice pro hac vice in this case must register for electronic filing with our
                    court within 10 days of this order entered by Judge Alan D Albright. (This is a
                    text−only entry generated by the court. There is no document associated with this
                    entry.) (jc5) (Entered: 08/09/2021)
08/10/2021    105 Minute Entry for proceedings held before Judge Alan D Albright: Markman Hearing
                  held on 8/10/2021. Case called for Markman Hearing by Zoom. Parties announce
                  ready. Parties argue term Zone Scene; term Zone Configuration v Group
                  Configuration. Parties argue claims. Rulings made on the record, to be followed up
                  with an order. Hearing concluded. (Minute entry documents are not available
                  electronically.). (Court Reporter Kristie Davis.)(ir) (Entered: 08/10/2021)
08/11/2021    106 Transcript filed of Proceedings held on 8−10−21, Proceedings Transcribed: Markman
                  hearing. Court Reporter/Transcriber: Kristie Davis, Telephone number:
                  254−340−6114. Parties are notified of their duty to review the transcript to ensure
                  compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the
                  court reporter or viewed at the clerk's office public terminal. If redaction is necessary,
                  a Notice of Redaction Request must be filed within 21 days. If no such Notice is filed,
                  the transcript will be made available via PACER without redaction after 90 calendar
                  days. The clerk will mail a copy of this notice to parties not electronically noticed
                  Redaction Request due 9/1/2021, Redacted Transcript Deadline set for 9/13/2021,
                  Release of Transcript Restriction set for 11/9/2021, (kd) (Entered: 08/11/2021)
08/26/2021    107 MOTION to Strike Sonos's Untimely Priority Claims by Google LLC. (Attachments: #
                  1 Affidavit Declaration of Jordan Jaffe, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                  Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit
                  9)(Verhoeven, Charles) (Entered: 08/26/2021)
08/26/2021    108 CORRECTED MOTION to Strike Sonos's Untimely Priority Claims by Google LLC.
                  (Attachments: # 1 Affidavit Declaration of Jordan Jaffe, # 2 Exhibit 1, # 3 Exhibit 2, #
                  4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, #
                  10 Exhibit 9, # 11 Exhibit 10)(Verhoeven, Charles) (Entered: 08/26/2021)
08/27/2021    109 NOTICE Regarding Unopposed Amendment to the Scheduling Order by Sonos, Inc.
                  (Siegmund, Mark) (Entered: 08/27/2021)
09/09/2021    110 Response in Opposition to Motion, filed by Sonos, Inc., re 108 CORRECTED
                  MOTION to Strike Sonos's Untimely Priority Claims filed by Google LLC
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                  E, # 6 Exhibit F)(Siegmund, Mark) (Entered: 09/09/2021)
09/09/2021    111 Sealed Document: Exhibit F of 110 Response in Opposition to Motion, by Sonos, Inc.
                  (Siegmund, Mark) (Entered: 09/09/2021)
09/15/2021    112 Joint MOTION for Protective Order Joint Motion for Entry of Stipulated Protective
                  Order by Google LLC. (Attachments: # 1 Exhibit 1)(Amstutz, Paige) (Entered:
                  09/15/2021)
09/16/2021    113 STIPULATED PROTECTIVE ORDER. Signed by Judge Alan D Albright. (ir)
                  (Entered: 09/16/2021)
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09/16/2021    114 REPLY to Response to Motion, filed by Google LLC, re 108 CORRECTED MOTION
                  to Strike Sonos's Untimely Priority Claims filed by Google LLC (Verhoeven, Charles)
                  (Entered: 09/16/2021)
09/20/2021    115 STATUS REPORT by Sonos, Inc.. (Siegmund, Mark) (Entered: 09/20/2021)
09/23/2021          Text Order MOOTING 99 Motion to Expedite entered by Judge Alan D Albright. The
                    Court held a Markman hearing on August 10, 2021, rendering this Motion MOOT.
                    (This is a text−only entry generated by the court. There is no document associated with
                    this entry.) (JGlc) (Entered: 09/23/2021)
09/23/2021          Text Order MOOTING 100 Motion to Stay entered by Judge Alan D Albright. The
                    Court held a Markman hearing on August 10, 2021, rendering this Motion MOOT.
                    (This is a text−only entry generated by the court. There is no document associated with
                    this entry.) (JGlc) (Entered: 09/23/2021)
09/27/2021    116 Federal Circuit ORDER granting Petition for Writ of Mandamus filed by Petitioner
                  Google LLC. The district courts order 97 denying Googles motion to transfer is
                  vacated, and the district court is directed to grant the transfer motion. Googles motion
                  to waive the requirements of Federal Circuit Rule 25.1(d)(1) is granted. (lad) (Entered:
                  09/27/2021)
09/27/2021    117 ORDER TRANSFERRING CASE TO THE NORTHERN DISTRICT OF
                  CALIFORNIA. Signed by Judge Alan D Albright. (ir) (Entered: 09/27/2021)
09/28/2021    118 Case transferred in from District of Texas Western; Case Number 6:20−cv−00881.
                  Original file certified copy of transfer order and docket sheet received. (Entered:
                  09/28/2021)
09/28/2021    119 Initial Case Management Scheduling Order with ADR Deadlines: Case
                  Management Statement due by 1/4/2022. Initial Case Management Conference
                  set for 1/11/2022 01:30 PM. (mclS, COURT STAFF) (Filed on 9/28/2021)
                  (Entered: 09/28/2021)
09/29/2021    120 CLERK'S NOTICE Re: Consent or Declination: Plaintiff shall file a consent or
                  declination to proceed before a magistrate judge. Note that any party is free to
                  withhold consent to proceed before a magistrate judge without adverse substantive
                  consequences. The forms are available at: http://cand.uscourts.gov/civilforms.
                  Consent/Declination due by 10/13/2021. (wft, COURT STAFF) (Filed on 9/29/2021)
                  (Entered: 09/29/2021)
09/29/2021    121 CLERK'S NOTICE Re: Consent or Declination: Defendant shall file a consent or
                  declination to proceed before a magistrate judge. Note that any party is free to
                  withhold consent to proceed before a magistrate judge without adverse substantive
                  consequences. The forms are available at: http://cand.uscourts.gov/civilforms.
                  Consent/Declination due by 10/13/2021. (wft, COURT STAFF) (Filed on 9/29/2021)
                  (Entered: 09/29/2021)
10/08/2021    122 ORDER RELATING CASE. SIGNED BY JUDGE ALSUP. (whalc2, COURT
                  STAFF) (Filed on 10/8/2021) (Entered: 10/08/2021)
10/12/2021    123 ORDER REASSIGNING CASE. Case reassigned to Judge William Alsup for all
                  further proceedings. Magistrate Judge Kandis A. Westmore no longer assigned to
                  case, Notice: The assigned judge participates in the Cameras in the Courtroom
                  Pilot Project. See General Order No. 65 and http://cand.uscourts.gov/cameras.
                  Signed by the Clerk on 10/12/2021. (Attachments: # 1 Notice of Eligibility for
                  Video Recording)(anjS, COURT STAFF) (Filed on 10/12/2021) (Entered:
                  10/12/2021)
10/12/2021    124 CLERK'S NOTICE SCHEDULING CMC ON REASSIGNMENT: Standing orders
                  can be downloaded from the Court's webpage at www.cand.uscourts.gov/whaorders.
                  All pending motions will be taken offcalendar and must berenoticed by the moving
                  party for a new hearing date on a Thursday at 08:00 AM. The new hearing date must
                  be at least five weeks from the date the motion was filed and at least three weeks from
                  the date the renotice is filed. The due date for any opposition or reply papers not yet
                  filed shall be calculated in accordance with Civil Local Rule 73.
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                   Joint Case Management Statement due by 1/6/2022. Initial Case Management
                   Conference set for 1/13/2022 at 11:00 AM in San Francisco, Courtroom 12, 19th
                   Floor.

                   (This is a text−only entry generated by the court. There is no document associated
                   with this entry.) (ecS, COURT STAFF) (Filed on 10/12/2021) (Entered: 10/12/2021)
12/09/2021    125 Letter from Charles K. Verhoeven , Counsel for Defendant Google, Requesting Leave
                  to File Motion to Dismiss. (Verhoeven, Charles) (Filed on 12/9/2021) (Entered:
                  12/09/2021)
12/13/2021    126 Letter from Alyssa Caridis re 125 Google LLC's Letter on 12/09/2021. By Plaintiff
                  Sonos, Inc.. (Caridis, Alyssa) (Filed on 12/13/2021) (Entered: 12/13/2021)
12/14/2021    127 REQUEST FOR MORE INFORMATION REGARDING 125 GOOGLE'S
                  PRECIS REQUEST. SIGNED BY JUDGE ALSUP. (whalc2, COURT STAFF)
                  (Filed on 12/14/2021) (Entered: 12/14/2021)
12/16/2021    128 RESPONSE re 127 Order (Google's Response to the Court's Request for More
                  Information Regarding Google's Precis Request) by Google LLC. (Verhoeven,
                  Charles) (Filed on 12/16/2021) (Entered: 12/16/2021)
12/16/2021    129 Response re 127 Order Sonos, Inc.s Response To The Courts Dec. 14 Request
                  bySonos, Inc.. (Caridis, Alyssa) (Filed on 12/16/2021) (Entered: 12/16/2021)
12/20/2021    130 NOTICE of Appearance by Jocelyn Ma (Ma, Jocelyn) (Filed on 12/20/2021) (Entered:
                  12/20/2021)
12/20/2021    131 NOTICE of Appearance by Nima Hefazi (Hefazi, Nima) (Filed on 12/20/2021)
                  (Entered: 12/20/2021)
12/21/2021    132 NOTICE of Appearance by Lana Robins (Robins, Lana) (Filed on 12/21/2021)
                  (Entered: 12/21/2021)
12/30/2021    133 ORDER RE: 125 GOOGLE'S PRECIS REQUEST TO FILE MOTION TO
                  DISMISS. SIGNED BY JUDGE ALSUP. (whalc2, COURT STAFF) (Filed on
                  12/30/2021) (Entered: 12/30/2021)
12/31/2021    134 STIPULATION WITH PROPOSED ORDER (Protective Order) filed by Google
                  LLC. (Verhoeven, Charles) (Filed on 12/31/2021) (Entered: 12/31/2021)
01/03/2022    135 ORDER APPROVING 134 STIPULATED PROTECTIVE ORDER (WITH
                  CONDITIONS). SIGNED BY JUDGE ALSUP. (whalc2, COURT STAFF) (Filed
                  on 1/3/2022) (Entered: 01/03/2022)
01/06/2022    136 JOINT CASE MANAGEMENT STATEMENT filed by Google LLC. (Verhoeven,
                  Charles) (Filed on 1/6/2022) (Entered: 01/06/2022)
01/10/2022    137 CLERK'S NOTICE CONVERTING INITIAL CASE MANAGEMENT
                  CONFERENCE SET FOR 1/13/2022 TO TELEPHONIC HEARING: Initial
                  Case Management Conference set for 1/13/2022 11:00 AM in San Francisco, −
                  Telephonic Only.

                   This proceeding will be held by AT&T Conference Line. The court circulates the
                   following conference number to allow the equivalent of a public hearing by telephone.

                   For conference line information, see: https://apps.cand.uscourts.gov/telhrg/

                   All counsel, members of the public and press please use the following dial−in
                   information below to access the conference line:

                   Dial In: 888−684−8852

                   Access Code: 3707514

                   PARTIES ARE TO CHECK IN WITH COURTROOM DEPUTY BY CONNECTING
                   TO TELECONFERENCE LINE 10 MINUTES PRIOR TO THE SCHEDULED
                   START TIME. Mute your phone if possible and wait for the Court to address you
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                   before speaking on the line. For call clarity, parties shall NOT use speaker phone or
                   earpieces for these calls, and where at all possible, parties shall use landlines.

                   PLEASE NOTE: Persons granted access to court proceedings held by telephone or
                   videoconference are reminded that photographing, recording, and rebroadcasting of
                   court proceedings, including screenshots or other visual copying of a hearing, is
                   absolutely prohibited. See General Order 58 at Paragraph III.

                   Initial Case Management Conference set for 1/13/2022 11:00 AM in San Francisco, −
                   Telephonic Only. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.)(afm, COURT STAFF) (Filed on 1/10/2022)
                   (Entered: 01/10/2022)
01/10/2022    138 MOTION to Dismiss filed by Google LLC. Motion Hearing set for 2/24/2022 08:00
                  AM in San Francisco, Courtroom 12, 19th Floor before Judge William Alsup.
                  Responses due by 1/24/2022. Replies due by 1/31/2022. (Attachments: # 1 Proposed
                  Order)(Verhoeven, Charles) (Filed on 1/10/2022) (Entered: 01/10/2022)
01/12/2022    139 CLERK'S NOTICE ADVANCING TIME OF INITIAL CASE MANAGEMENT
                  CONFERENCE ON 1/13/2022 FROM 11:00AM TO 8:00AM. Hearing will be
                  conducted telephonically.

                   This proceeding will be held by AT&T Conference Line. The court circulates the
                   following conference number to allow the equivalent of a public hearing by telephone.

                   For conference line information, see: https://apps.cand.uscourts.gov/telhrg/

                   All counsel, members of the public and press please use the following dial−in
                   information below to access the conference line:

                   Dial In: 888−684−8852

                   Access Code: 3707514

                   Parties are to dial in to the hearing 10 minutes prior to start time and check in with
                   courtroom deputy. Mute your phone if possible and wait for the Court to address you
                   before speaking on the line. For call clarity, parties shall NOT use speaker phone or
                   earpieces for these calls, and where at all possible, parties shall use landlines.

                   PLEASE NOTE: Persons granted access to court proceedings held by telephone or
                   videoconference are reminded that photographing, recording, and rebroadcasting of
                   court proceedings, including screenshots or other visual copying of a hearing, is
                   absolutely prohibited. See General Order 58 at Paragraph III.

                   Initial Case Management Conference set for 1/13/2022 08:00 AM in San Francisco, −
                   Telephonic Only. (This is a text−only entry generated by the court. There is no
                   document associated with this entry.)(afm, COURT STAFF) (Filed on 1/12/2022)
                   (Entered: 01/12/2022)
01/13/2022    140 Minute Entry for proceedings held before Judge William Alsup:

                   Motion Hearing re: 80 Motion for Leave to File Second Amended Complaint,
                   Status Conference (20−cv−6754), and Initial Case Management Conference
                   (21−cv−7559) held telephonically on 1/13/2022. Court takes motion under
                   submission. Request from parties re: clarification on 100−hour limit on
                   depositions and whether or not third parties are excluded. Court ruled parties
                   may use up 100 hours on everyone, including third parties. Nearing end of 100
                   hours limit, Court may grant a little more time IF requested party has behaved
                   properly with respect to disclosures and discovery.

                   Total Time in Court: 9:35 − 10:15 = 40 Minutes.
                   Court Reporter: Marla Knox.

                   Google Attorneys: Charles Verhoeven, Lindsey Cooper.
                   Sonos Attorneys: Sean Sullivan, Clem Roberts, Cole Richter.
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                   (This is a text−only entry generated by the court. There is no document associated
                   with this entry.) (afm, COURT STAFF) (Date Filed: 1/13/2022) (Entered:
                   01/13/2022)
01/13/2022    141 TRANSCRIPT ORDER for proceedings held on 1/13/2022 before Judge William
                  Alsup by Google LLC, for Court Reporter Marla Knox. (Cooper, Lindsay) (Filed on
                  1/13/2022) (Entered: 01/13/2022)
01/21/2022    142 Transcript of Telephonic Proceedings held on January 13, 2022, before Judge William
                  H. Alsup. Court Reporter, Marla F. Knox, RPR, CRR, RMR, telephone number (602)
                  391−6990/email marla_knox@cand.uscourts.gov. Per General Order No. 59 and
                  Judicial Conference policy, this transcript may be viewed only at the Clerk's Office
                  public terminal or may be purchased through the Court Reporter/Transcriber until the
                  deadline for the Release of Transcript Restriction. After that date it may be obtained
                  through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                  later than 5 business days from date of this filing. (Re 141 Transcript Order ) Release
                  of Transcript Restriction set for 4/21/2022. (Related documents(s) 141 ) (mfk, COURT
                  STAFF) (Filed on 1/21/2022) (Entered: 01/21/2022)
01/24/2022    143 NOTICE of Appearance by Evan David Brewer Pursuant to Civil L.R. 5−1(c)(2)
                  (Brewer, Evan) (Filed on 1/24/2022) (Entered: 01/24/2022)
01/24/2022    144 OPPOSITION/RESPONSE (re 138 MOTION to Dismiss ) filed bySonos, Inc..
                  (Attachments: # 1 Declaration of Evan Brewer and Exhibits A−D)(Roberts, Clement)
                  (Filed on 1/24/2022) (Entered: 01/24/2022)
01/26/2022    145 ORDER RE TECHNOLOGY TUTORIAL. SIGNED BY JUDGE ALSUP.
                  (whalc2, COURT STAFF) (Filed on 1/26/2022) (Entered: 01/26/2022)
01/31/2022    146 REPLY (re 138 MOTION to Dismiss ) filed byGoogle LLC. (Verhoeven, Charles)
                  (Filed on 1/31/2022) (Entered: 01/31/2022)
02/01/2022    147 STIPULATION WITH PROPOSED ORDER re: Discovery of Electronically Stored
                  Information filed by Google LLC. (Cooper, Lindsay) (Filed on 2/1/2022) (Entered:
                  02/01/2022)
02/02/2022    148 ORDER GRANTING 119 147 STIPULATION RE DISCOVERY OF
                  ELECTRONICALLY STORED INFORMATION. Signed by Judge William
                  Alsup on 2/2/2022. (afm, COURT STAFF) (Filed on 2/2/2022) (Entered:
                  02/02/2022)
02/03/2022    149 Received one USB Drive from Sonos, Inc. re 115 in case 3:20−cv−06754−WHA, and
                  145 in case 3:21−cv−07559−WHA. (wsn, COURT STAFF) (Filed on 2/3/2022)
                  (Entered: 02/03/2022)
02/04/2022    150 STIPULATION WITH PROPOSED ORDER of Partial Dismissal filed by Google
                  LLC. (Verhoeven, Charles) (Filed on 2/4/2022) (Entered: 02/04/2022)
02/05/2022    151 ORDER by Judge William Alsup granting 150 Stipulation For Partial Dismissal.
                  (afm, COURT STAFF) (Filed on 2/5/2022) (Entered: 02/05/2022)
02/24/2022    152 Minute Entry for proceedings held before Judge William Alsup:

                   Motion Hearing held on 2/24/2022 re 138 MOTION to Dismiss filed by Google
                   LLC. Court takes 138 Motion to Dismiss under submission.

                   Total Time in Court: 8:40 − 9:07 = 27 Minutes.
                   Court Reporter: Ana Dub.

                   Plaintiff Attorney: Bas de Blank.
                   Defendant Attorney: Charles Verhoven.

                   (This is a text−only entry generated by the court. There is no document associated
                   with this entry.) (afm, COURT STAFF) (Date Filed: 2/24/2022) (Entered:
                   02/24/2022)
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02/24/2022    153 TRANSCRIPT ORDER for proceedings held on 2/24/2022 before Judge William
                  Alsup by Google LLC, for Court Reporter Ana Dub. (Cooper, Lindsay) (Filed on
                  2/24/2022) (Entered: 02/24/2022)
02/24/2022    154 TRANSCRIPT ORDER for proceedings held on 02/24/2022 before Judge William
                  Alsup by Sonos, Inc., for Court Reporter Ana Dub. (Caridis, Alyssa) (Filed on
                  2/24/2022) (Entered: 02/24/2022)
03/06/2022    155 Transcript of Proceedings held on 02/24/2022 before Judge William H. Alsup. Court
                  Reporter Ana Dub, CSR 7445, RDR, RMR, CRR, CCRR, CRG, CCG, telephone
                  number 415−290−1651; ana_dub@cand.uscourts.gov. Per General Order No. 59 and
                  Judicial Conference policy, this transcript may be viewed only at the Clerk's Office
                  public terminal or may be purchased through the Court Reporter until the deadline for
                  the Release of Transcript Restriction. After that date, it may be obtained through
                  PACER. Any Notice of Intent to Request Redaction, if required, is due no later than 5
                  business days from date of this filing. (Re 153 Transcript Order ) Release of Transcript
                  Restriction set for 6/6/2022. (Related documents(s) 153 ) (amd, COURT STAFF)
                  (Filed on 3/6/2022) (Entered: 03/06/2022)
03/16/2022    156 ORDER RE 138 MOTION TO DISMISS AND CERTIFICATION UNDER 28
                  U.S.C. § 1292(b). SIGNED BY JUDGE ALSUP. (whalc2, COURT STAFF) (Filed
                  on 3/16/2022) (Entered: 03/16/2022)
03/17/2022    157 MOTION for leave to appear in Pro Hac Vice Anne−Raphaelle Aubry ( Filing fee $
                  317, receipt number ACANDC−17003172.) filed by Google LLC. (Aubry,
                  Anne−Raphaelle) (Filed on 3/17/2022) (Entered: 03/17/2022)
03/19/2022    158 ORDER by Judge William Alsup granting 157 Motion for Pro Hac Vice. (afm,
                  COURT STAFF) (Filed on 3/19/2022) (Entered: 03/19/2022)
03/30/2022    159 MOTION to Amend/Correct Sonos, Inc.s Motion For Leave To File Third Amended
                  Complaint filed by Sonos, Inc.. Motion Hearing set for 5/12/2022 08:00 AM in San
                  Francisco, Courtroom 12, 19th Floor before Judge William Alsup. Responses due by
                  4/13/2022. Replies due by 4/20/2022. (Attachments: # 1 Richter Decl, # 2 Ex 1, # 3 Ex
                  2, # 4 Ex 3, # 5 Ex 4, # 6 Ex 5, # 7 Ex 6, # 8 Ex 7, # 9 Ex 8, # 10 Proposed
                  Order)(Richter, Cole) (Filed on 3/30/2022) (Entered: 03/30/2022)
03/30/2022    160 Administrative Motion to File Under Seal Sonos, Inc.s Administrative Motion To
                  Consider Whether Another Partys Material Should Be Sealed filed by Sonos, Inc..
                  (Attachments: # 1 Proposed Order, # 2 Ex 2 [Sealed], # 3 Ex 3 [Sealed])(Richter,
                  Cole) (Filed on 3/30/2022) (Entered: 03/30/2022)
03/31/2022    161 U.S. Court of Appeals for the Federal Circuit Case Number 2022−134. (mcl, COURT
                  STAFF) (Filed on 3/31/2022) (Entered: 03/31/2022)
03/31/2022    162 CERTIFICATE OF SERVICE by Sonos, Inc. re 160 Administrative Motion to File
                  Under Seal Sonos, Inc.s Administrative Motion To Consider Whether Another Partys
                  Material Should Be Sealed (Richter, Cole) (Filed on 3/31/2022) (Entered: 03/31/2022)
04/06/2022    163 Declaration of Jocelyn Ma in Support of 160 Administrative Motion to File Under Seal
                  Sonos, Inc.s Administrative Motion To Consider Whether Another Partys Material
                  Should Be Sealed filed byGoogle LLC. (Related document(s) 160 ) (Ma, Jocelyn)
                  (Filed on 4/6/2022) (Entered: 04/06/2022)
04/06/2022    164 EXHIBITS re 160 Administrative Motion to File Under Seal Sonos, Inc.s
                  Administrative Motion To Consider Whether Another Partys Material Should Be
                  Sealed filed byGoogle LLC. (Attachments: # 1 Exhibit 2 (Sealed))(Related
                  document(s) 160 ) (Ma, Jocelyn) (Filed on 4/6/2022) (Entered: 04/06/2022)
